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7
8                         IN THE UNITED STATES DISTRICT COURT
9                     FOR THE SOUTHERN DISTRICT OF CALIFORNIA
10
11    ASHTON FORBES,                             )   No. 20-CV-00998-BAS-JLB
                                                 )
12                        Plaintiff,             )   REQUEST FOR JUDICIAL NOTICE IN
                                                 )   SUPPORT OF DEFENDANT COUNTY
13       v.                                      )   OF SAN DIEGO’S MOTION TO
                                                 )   DISMISS PLAINTIFF’S SECOND
14    COUNTY OF SAN DIEGO,                       )   AMENDED COMPLAINT
      GOVERNOR GAVIN NEWSOM in his               )   [Federal Rules of Evidence, Rule 201]
15    official capacity,                         )
      SONIA Y. ANGELL in her official            )
16    capacity, and                              )
      DOES 1-50,                                 )   Judge:      Hon. Cynthia A. Bashant
17                                               )   Mag. Judge: Hon. Jill L. Burkhardt
                          Defendants.            )
18                                               )   Hearing Date: Tuesday, Sept. 8, 2020
                                                 )
19                                               )   NO ORAL ARGUMENT UNLESS
                                                 )   REQUESTED BY THE COURT
20                                               )
                                                 )   Action Filed:      May 31, 2020
21                                               )   Trial Date:        None Set
                                                 )
22
23
24            Defendant County of San Diego (“County”), in support of its motion to dismiss
25    plaintiff Ashton Forbes’ Second Amended Complaint (“SAC”), respectfully requests that
26    the Court take judicial notice, under Federal Rules of Evidence, rule 201, of the following
27    facts, public records and government publications and the medical/scientific data reported
28    therein.
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1     Supporting Law
2           Under Federal Rules of Evidence 201(b): “The court may judicially notice a fact
3     that is not subject to reasonable dispute because it: (1) is generally known within the trial
4     court’s territorial jurisdiction; or (2) can be accurately and readily determined from
5     sources whose accuracy cannot be reasonably questioned.” For example, in Ferreyra v.
6     Decker, 2020 WL 1989417, at *6 (S.D.N.Y. April 27, 2020), the district court took
7     judicial notice “that COVID-19 causes severe medical complications and has increased
8     lethality amongst people of advanced age, and those with underlying health problems, or
9     both.” [See also, Valenzuela Arias v, Decker, 2020 WL 1847986, at *4 (S.D.N.Y. April
10    10, 2020) (taking judicial notice of medical conditions recognized by the CDC as
11    resulting in increased risks of contracting COVID-19 or developing serious, and
12    potentially fatal, complications from the virus).]
13          Because government publications are matters of public record and can be easily
14    verified, they are proper subjects of judicial notice. [See Corrie v. Caterpillar, Inc., 503
15    F.3d 974, 978 n.2 (9th Cir. 2007) (explaining that a court may take judicial notice of a
16    government publication); see also Santa Monica Food Not Bombs v. City of Santa
17    Monica, 450 F.3d 1022, 1025 n.2 (9th Cir. 2006) (taking judicial notice of public records
18    that “can be accessed at Santa Monica’s official website”); Gent v. CUNA Mut. Ins. Soc'y,
19    611 F.3d 79, 84 n.5 (1st Cir. 2010) (taking judicial notice of information concerning the
20    transmission of Lyme Disease from the CDC website). Depending on whether a
21    statement or fact contained in the government publication is reasonably subject to
22    dispute, the Court can – if appropriate – limits its judicial to the publications’ existence
23    and the fact that they contain the purported statements, rather than the truth of the
24    statements. [See Lee v, City of Los Angeles, 250 F.3d 668, 689–90 (9th Cir. 2001).]
25          In George v. Diaz, the Northern District of California took “judicial notice of . . .
26    facts that illustrate that the governmental response to the Covid-19 pandemic has evolved
27    in the few short months the pandemic has been in the United States,” including that “the
28    Centers for Disease Control first recommended the use of cloth face coverings in public
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1     settings on April 3, 2020.” [George v. Diaz, 2020 WL 2542020, at *2–3 (N.D. Cal. May
2     19, 2020) (citing the CDC’s COVID-19 website, https://www.cdc.gov/coronavirus/2019-
3     ncov/prevent-getting-sick/cloth-face-cover.html, as a source of the facts that the court
4     took judicial notice of).] A court can take judicial notice of “public records and
5     government documents available from reliable sources on the Internet, such as websites
6     run by governmental agencies.” [Gerritsen v. Warner Bros. Entm't Inc., 112 F.Supp.3d
7     1011, 1033 (C.D. Cal. 2015) (internal quotations omitted).]
8     County’s Request for Judicial Notice
9           Consistent with the above-discussed law, the County requests that the Court take
10    judicial notice of the following:
11          1.     The World Health Organization, Coronavirus Disease 2019 Situation
12    Report, April 23, 2020 https://www.who.int/docs/default-source/coronaviruse/situation-
13    reports/20200423-sitrep-94-covid-19.pdf?sfvrsn=b8304bf0_4, a true and correct copy of
14    which is attached hereto as Exhibit 1.
15          2.     The Centers for Disease Control and Prevention (“CDC”) COVID-19 web
16    site, reporting that as of July 15, 2020, over 3.4 million people have been infected with
17    COVID-19 in the United States, resulting in more than 135,000 deaths. See CDC
18    COVID-19 web page, at https://www.cdc.gov/coronavirus/2019-ncov/cases-
19    updates/cases-in-us.html (last visited 7/15/20), a true and correct copy of which is
20    attached hereto as Exhibit 2.
21          3.     The California Department of Public Health’s COVID-19 web site, reported
22    that in California, as of July 15, 2020, more than 340,000 people have tested positive for
23    COVID-19, resulting in over 7,200 deaths. See California Coronavirus, COVID-19
24    Statewide Update, at update.covid19.ca.gov (as of July 15, 2020), a true and correct copy
25    of which is attached hereto as Exhibit 3.
26    ///
27    ///
28    ///
                                                   3
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1           4.        On July 14, 2020, the State of California reported 11,000 new COVID-19
2     cases and 140 more deaths (as compared to the day before). See California Coronavirus,
3     COVID-19 Statewide Update, at update.covid19.ca.gov (as of July 15, 2020), a true and
4     correct copy of which is attached hereto as Exhibit 3.
5           5.        The County of San Diego reported that as of July 15, 2020, over 21,000
6     County residents have tested positive for COVID-19, with 448 COVID-19 deaths in the
7     County. See County of San Diego COVID-19 Dashboard, at
8     https://www.sandiegocounty.gov/content/sdc/hhsa/programs/phs/community_epidemiolo
9     gy/dc/2019-nCoV/status.html (as of 7/15/20), a true and correct copy of which is attached
10    hereto as Exhibit 4.
11          6.        The CDC’s COVID-19 web page titled “How COVID-19 Spreads” (updated
12    June 16, 2020), at https://www.cdc.gov/coronavirus/2019-ncov/prevent-getting-sick/how-
13    covid-spreads.html, a true and correct copy of which is attached hereto as Exhibit 5.
14          7.        The Order of Chief Judge of the Southern District of California, No. 29
15    (issued June 10, 2020), a true and correct copy of which is attached hereto as Exhibit 6.
16          8.        The World Health Organization web page, Q&A Masks and COVID-19,
17    June 7, 2020, subheading Does WHO advise the use of non-medical, fabric masks in the
18    general public?, at https://www.who.int/emergencies/diseases/novel-coronavirus-
19    2019/question-and-answers-hub/q-a-detail/q-a-on-covid-19-and-masks (last visited
20    7/15/20), a true and correct copy of which is attached hereto as Exhibit 7.
21          9.        The CDC’s COVID-19 web page titled “Consideration for Wearing Cloth
22    Face Coverings, Help Slow the Spread of COVID-19” at
23    https://www.cdc.gov/coronavirus/2019-ncov/prevent-getting-sick/cloth-face-cover.html
24    (updated 6/28/20, last visited 7/15/20), a true and correct copy of which is attached hereto
25    as Exhibit 8.
26          10        Governor Newsom’s Executive Order N-33-20, issued on March 19, 2020, a
27    true and correct copy of which is attached hereto as Exhibit 9.
28    ///
                                                     4
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1           11.   County of San Diego, Public Health Order (effective July 15, 2020), a true
2     and correct copy of which is attached hereto as Exhibit 10.
3           12.   “Declaration of Local Health Emergency” declared by the County of San
4     Diego’s Public Health Officer, Dr. Wilma Wooten, on February 14, 2020, a true and
5     correct copy of which is attached hereto as Exhibit 11.
6
7     DATED: July 16, 2020            THOMAS E. MONTGOMERY, County Counsel
8
9                                     By    s/Timothy M. White
                                           TIMOTHY M. WHITE, Senior Deputy
10                                         Attorneys for Defendant,
                                           COUNTY OF SAN DIEGO
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                     EXHIBIT 1
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 Coronavirus disease 2019 (COVID-19)
 Situation Report – 94
 Data as received by WHO from national authorities by 10:00 CEST, 23 April 2020


HIGHLIGHTS                                                                                SITUATION IN NUMBERS
                                                                                          total (new cases in last 24 hours)
  x     The Global Outbreak Alert and Response Network (GOARN) has launched a
        GOARN COVID-19 Knowledge hub. The hub is designed as a central repository of       Globally
                                                                                           2 544 792 confirmed (73 657)
        quality public health information, guidance, tools and webinars which can be
                                                                                           175 694 deaths (6689)
        accessed freely at any point.
                                                                                           European Region
                                                                                           1 251 458 confirmed (31 972)
  x     WHO Director-General Dr. Tedros, in his regular media briefing yesterday,          113 336 deaths (3384)
        cautioned that “we have a long way to go. This virus will be with us for a long
        time”. He added that “the world cannot go back to the way things were. There       Region of the Americas
                                                                                           957 402 confirmed (32 111)
        must be a “new normal” – a world that is healthier, safer and better prepared”.    47 812 deaths (3038)
        His speech can be found here.
                                                                                           Eastern Mediterranean Region
                                                                                           144 450 confirmed (5101)
  x     WHO has published guidance ‘Addressing Human Rights as Key to the COVID-19         6469 deaths (143)
        Response’. The guidance document highlights the importance of integrating a
        human rights-based approach into the COVID-19 response and highlights key          Western Pacific Region
                                                                                           137 902 confirmed (1632)
        considerations in relation to addressing stigma and discrimination, prevention
                                                                                           5818 deaths (25)
        of violence against women, support for vulnerable populations, quarantine and
        restrictive measures, and shortages of supplies and equipment.                     South-East Asia Region
                                                                                           36 039 confirmed (2127)
                                                                                           1498 deaths (71)
  x     All available evidence for COVID-19 suggests that SARS-CoV-2 has a zoonotic
        source. Many researchers have been able to look at the genomic features of         African Region
                                                                                           16 829 confirmed (714)
        SARS-CoV-2 and have found that evidence does not support that SARS-CoV-2 is
                                                                                           748 deaths (28)
        a laboratory construct. A constructed virus would show a mix of known elements
        within genomic sequences – this is not the case. For more details, please see      WHO RISK ASSESSMENT
        ‘subject in focus’.                                                                Global Level       Very High


      Figure 1. Countries, territories or areas with reported confirmed cases of COVID-19, 23 April 2020




                                                                                                          Exhibit 1 - 001
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SUBJECT IN FOCUS: Origin of the severe acute respiratory syndrome coronavirus-2
(SARS-CoV-2), the virus causing COVID-19

The first human cases of COVID-19, the disease caused by the novel coronavirus causing COVID-19, subsequently
named SARS-CoV-2 were first reported by officials in Wuhan City, China, in December 2019. Retrospective
investigations by Chinese authorities have identified human cases with onset of symptoms in early December 2019.
While some of the earliest known cases had a link to a wholesale food market in Wuhan, some did not. Many of the
initial patients were either stall owners, market employees, or regular visitors to this market. Environmental samples
taken from this market in December 2019 tested positive for SARS-CoV-2, further suggesting that the market in
Wuhan City was the source of this outbreak or played a role in the initial amplification of the outbreak. The market
was closed on 1 January 2020.

SARS-CoV-2 was identified in early January and its genetic sequence shared publicly on 11-12 January. The full
genetic sequence of SARS-CoV-2 from the early human cases and the sequences of many other virus isolated from
human cases from China and all over the world since then show that SARS-CoV-2 has an ecological origin in bat
populations. All available evidence to date suggests that the virus has a natural animal origin and is not a
manipulated or constructed virus. Many researchers have been able to look at the genomic features of SARS-CoV-2
and have found that evidence does not support that SARS-CoV-2 is a laboratory construct. If it were a constructed
virus, its genomic sequence would show a mix of known elements. This is not the case.

Another coronavirus, SARS-CoV-1, the cause of the Severe Acute Respiratory Syndrome (SARS) outbreak in 2003, was
also closely related to other coronaviruses isolated from bats. These close genetic relations of SARS-CoV-1, SARS-
CoV-2 and other coronaviruses, suggest that they all have their ecological origin in bat populations. Many of these
coronaviruses can also infect several animal species. For example, SARS-CoV-1 infected civet cats and then humans,
while the virus causing the Middle East Respiratory Syndrome (MERS-CoV) is found in dromedary camels, and has
continued to infect humans since 2012.

All available evidence for COVID-19 suggests that SARS-CoV-2 has a zoonotic source. Since there is usually limited
close contact between humans and bats, it is more likely that transmission of the virus to humans happened through
another animal species, one that is more likely to be handled by humans. This intermediate animal host or zoonotic
source could be a domestic animal, a wild animal, or a domesticated wild animal and, as of yet, has not been
identified.

All the published genetic sequences of SARS-CoV-2 isolated from human cases are very similar. This suggests that the
start of the outbreak resulted from a single point introduction in the human population around the time that the
virus was first reported in humans in Wuhan, China in December 2019.

A number of investigations to better understand the source of the outbreak in China are currently underway or
planned, including investigations of human cases with symptom onset in and around Wuhan in late 2019,
environmental sampling from markets and farms in areas where the first human cases were identified, and detailed
records on the source and type of wildlife species and farmed animals sold in these markets.

Results from these studies are essential to preventing further zoonotic introductions of SARS-CoV-2 into the human
population. WHO continues to collaborate with animal health and human health experts, Member States, and other
partners to identify gaps and research priorities for the control of COVID-19, including the eventual identification of
the source of the virus in China.




                                                                                                  Exhibit 1 - 002
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SURVEILLANCE

Table 1. Countries, territories or areas with reported laboratory-confirmed COVID-19 cases and deaths. Data as of
23 April 2020*


                              Total     Total                   Total
 Reporting Country/                                  Total                   Transmission           Days since last
                          confirmed   confirmed                 new
 Territory/Area†            ‡                       deaths                   classification§        reported case
                              cases   new cases                deaths

 Western Pacific Region
 China                      84302        15          4642         0         Clusters of cases              0
 Japan                      11919        423         287         10         Clusters of cases              0
 Republic of Korea          10702         8          240          2         Clusters of cases              0
 Singapore                  10141       1016          12          1         Clusters of cases              0
 Philippines                6710         111         446          9         Clusters of cases              0
 Australia                  6654          7           74          0         Clusters of cases              0
 Malaysia                   5532         50           93          1         Clusters of cases              0
 New Zealand                1112          0           16          2         Clusters of cases              1
 Viet Nam                    268          0            0          0         Clusters of cases              6
 Brunei Darussalam           138          0            1          0          Sporadic cases                3
 Cambodia                    122          0            0          0          Sporadic cases               11
 Mongolia                    35           1            0          0          Sporadic cases                0
 Lao People's
 Democratic Republic         19           0            0          0          Sporadic cases               10
 Fiji                        18           0            0          0          Sporadic cases                2
 Papua New Guinea             8           1            0          0          Sporadic cases                0
 Territories**
 Guam                        133          0            5          0         Clusters of cases             11
 French Polynesia            57           0            0          0          Sporadic cases                1
 New Caledonia               18           0            0          0          Sporadic cases               20
 Northern Mariana
 Islands
 (Commonwealth of
 the)                        14           0            2          0             Pending                   5
 European Region
 Spain                     208389       4211        21717        435             Pending                  0
                                                                               Community
 Italy                     187327       3370        25085        437          transmission                0
                                                                               Community
 Germany                   148046       2352         5094        215          transmission                0
                                                                               Community
 The United Kingdom        133499       4451        18100        763          transmission                0
                                                                               Community
 France                    117961       1810        21307        544          transmission                0
                                                                               Community
 Turkey                     98674       3083         2376        117          transmission                0
 Russian Federation         62773       4774         555         42         Clusters of cases             0
                                                                               Community
 Belgium                    41889        933         6262        264          transmission                0

                                                                                                Exhibit 1 - 003
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                                                        Community
 Netherlands           34842   708   4054    138       transmission               0
                                                        Community
 Switzerland           28186   205   1216    30        transmission               0
 Portugal              21982   603   785     23           Pending                 0
 Ireland               16671   631   769     39           Pending                 0
 Sweden                16004   682   1937    172          Pending                 0
 Austria               14924   91    494     31           Pending                 0
 Israel                14498   556   189      5           Pending                 0
 Poland                10169   313   426     25           Pending                 0
                                                        Community
 Romania               9710    468   508      25       transmission               0
 Denmark               7912    217   384      14          Pending                 0
                                                        Community
 Belarus               7281    558   60       5        transmission               0
 Norway                7250    84    169      6           Pending                 0
                                                        Community
 Ukraine               7170    578   187      13       transmission               0
                                                        Community
 Czechia               7136    95    210      9        transmission               0
 Serbia                7114    224   134      4           Pending                 0
 Finland               4129    115   149      8           Pending                 0
 Luxembourg            3654    36    80       2           Pending                 0
 Republic of Moldova   2778    137   76       3           Pending                 0
 Greece                2408     7    121      0           Pending                 0
 Hungary               2284    116   225      0      Clusters of cases            0
 Kazakhstan            2025    30    19       0           Pending                 0
 Croatia               1950    42    48       0           Pending                 0
                                                        Community
 Iceland               1785    7      10      0        transmission               0
 Uzbekistan            1716    59      7      1      Clusters of cases            0
 Estonia               1559    7      44      1           Pending                 0
 Azerbaijan            1518    38     20      0      Clusters of cases            0
 Armenia               1473    96     24      0      Clusters of cases            0
 Lithuania             1398    28     38      0           Pending                 0
 Bosnia and                                             Community
 Herzegovina           1367    27     52      2        transmission               0
                                                        Community
 Slovenia              1353    13     79      2        transmission               0
 North Macedonia       1259    28     56      1      Clusters of cases            0
 Slovakia              1244    45     14      0      Clusters of cases            0
 Bulgaria              1024    49     49      4           Pending                 0
 Cyprus                790     6      17      0      Clusters of cases            0
 Latvia                761     13     11      2           Pending                 0
                                                        Community
 Andorra               724     1      37      0        transmission               0
 Albania               634     0      27      1      Clusters of cases            1
 Kyrgyzstan            631     19      8      1           Pending                 0
                                                        Community
 San Marino            488     12     40      0        transmission               0
 Malta                 444     1       3      0           Pending                 0

                                                                         Exhibit 1 - 004
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                                                        Community
 Georgia                  420      9      5     0      transmission               0
 Montenegro               314      1      5     0    Clusters of cases            0
 Liechtenstein            82       0      1     0         Pending                 4
 Monaco                   68       0      1     0     Sporadic cases              9
 Holy See                  9       0      0     0     Sporadic cases              2
 Territories**
                                                        Community
 Kosovo[1]                630      26    18     0      transmission               0
 Isle of Man              307      0     10     0         Pending                 1
 Jersey                   255      5     14     0         Pending                 0
                                                        Community
 Guernsey                 241      2     10     0      transmission                0
 Faroe Islands            185      0      0     0         Pending                  3
 Gibraltar                133      0      0     0    Clusters of cases             5
 Greenland                11       0      0     0         Pending                 17
 South-East Asia Region
 India                    21393   1409   681    41   Clusters of cases            0
                                                        Community
 Indonesia               7418     283    635    19     transmission               0
 Bangladesh              3772     390    120    10        Pending                 0
 Thailand                2839     13     50      1        Pending                 0
 Sri Lanka                330     20      7      0   Clusters of cases            0
 Myanmar                  127      6      5      0   Clusters of cases            0
 Maldives                  85      2      0      0   Clusters of cases            0
 Nepal                     45      3      0      0    Sporadic cases              0
 Timor-Leste               23      0      0      0   Clusters of cases            2
 Bhutan                     7      1      0      0    Sporadic cases              0
 Eastern Mediterranean Region
 Iran (Islamic Republic                                 Community
 of)                     85996    1194   5391   94     transmission               0
 Saudi Arabia            12772    1141   114     5   Clusters of cases            0
 Pakistan                10513     764   224    15   Clusters of cases            0
 United Arab Emirates    8238      483    52     6        Pending                 0
 Qatar                   7141      608    10     1        Pending                 0
 Egypt                   3659      169   276    12   Clusters of cases            0
 Morocco                 3446      237   149     4   Clusters of cases            0
 Kuwait                  2248      168    13     2   Clusters of cases            0
 Bahrain                 2027      54      7     0   Clusters of cases            0
 Oman                    1716      102     8     0   Clusters of cases            0
 Iraq                    1631      29     83     0   Clusters of cases            0
 Afghanistan             1176      84     40     4   Clusters of cases            0
 Djibouti                 974      29      2     0   Clusters of cases            0
                                                        Community
 Tunisia                  909      8     38     0      transmission               0
 Lebanon                  682      0     22     0    Clusters of cases            1
 Jordan                   435      7      7     0    Clusters of cases            0
 Somalia                  286      0     14     0     Sporadic cases              1
 Sudan                    162      22    13     0     Sporadic cases              0
 Libya                    60       1      1     0    Clusters of cases            0

                                                                         Exhibit 1 - 005
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                                                            Community
 Syrian Arab Republic       42      0        3      0      transmission                 1
 Yemen                       1      0        0      0         Pending                  12
 Territories**
 occupied Palestinian
 territory                 336      1        2      0     Clusters of cases            0
 Region of the Americas
 United States of                                            Community
 America                  800926   24019   40073   2471     transmission               0
                                                             Community
 Brazil                   43079    2498    2741    166      transmission               0
                                                             Community
 Canada                   38923    1549    1871    143      transmission               0
                                                             Community
 Peru                     17837    1512    484     39       transmission               0
                                                             Community
 Chile                    11296     464    160     13       transmission               0
                                                             Community
 Ecuador                  10850     452    537     17       transmission               0
                                                             Community
 Mexico                    9501     729    857     145      transmission               0
                                                             Community
 Dominican Republic        5300     256    260     15       transmission               0
                                                             Community
 Panama                    4821     163    141      5       transmission               0
                                                             Community
 Colombia                  4149     172    196      7       transmission               0
                                                             Community
 Argentina                 3197     124    152      7       transmission               0
 Cuba                      1189     52     40       2     Clusters of cases            0
 Costa Rica                669       7      6       0     Clusters of cases            0
 Bolivia (Plurinational
 State of)                 609      11      37      3     Clusters of cases            0
 Uruguay                   543      8       12      2     Clusters of cases            0
 Honduras                  510      16      46      0     Clusters of cases            0
 Guatemala                 316      22       8      0     Clusters of cases            0
 Venezuela (Bolivarian
 Republic of)              288      3       10      0     Clusters of cases            0
 El Salvador               237      12       7      0     Clusters of cases            0
 Jamaica                   233      10       6      0     Clusters of cases            0
                                                             Community
 Paraguay                  213      5        9      1       transmission                0
 Trinidad and Tobago       115      1        8      0      Sporadic cases               0
 Barbados                  75       0        5      0     Clusters of cases             6
 Guyana                    67       1        7      0     Clusters of cases             0
 Bahamas                   65       1        9      0     Clusters of cases             0
 Haiti                     58       1        4      1     Clusters of cases             0
 Antigua and Barbuda       24       1        3      0     Clusters of cases             0
 Belize                    18       0        2      0      Sporadic cases               8
 Dominica                  16       0        0      0     Clusters of cases            12
 Saint Kitts and Nevis     15       0        0      0      Sporadic cases               2
 Saint Lucia               15       0        0      0      Sporadic cases              11
 Grenada                   14       0        0      0     Clusters of cases             1
                                                                              Exhibit 1 - 006
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 Saint Vincent and the
 Grenadines                13     1      0    0       Sporadic cases               0
 Nicaragua                 10     0      2    0          Pending                   1
 Suriname                  10     0      1    0       Sporadic cases              19
 Territories**
 Puerto Rico               1298   0     64    0      Clusters of cases            1
 Martinique                164    1     14    0      Clusters of cases            0
 Guadeloupe                148    0     12    0      Clusters of cases            3
 Aruba                     100    3      2    0      Clusters of cases            0
 Bermuda                    98    12     5    0      Clusters of cases            0
 French Guiana              97    0      1    0      Clusters of cases            2
 Sint Maarten               71    3     11    1      Clusters of cases            0
 Cayman Islands             66    0      1    0      Clusters of cases            1
 United States Virgin
 Islands                   54     0      3    0      Clusters of cases             1
 Saint Martin              38     1      2    0       Sporadic cases               0
 Curaçao                   14     0      1    0       Sporadic cases              14
 Falkland Islands
 (Malvinas)                12     1      0    0      Clusters of cases            0
 Montserrat                11     0      0    0       Sporadic cases              9
 Turks and Caicos
 Islands                   11     0      1    0       Sporadic cases               6
 Saint Barthelemy           6     0      0    0       Sporadic cases              23
 Bonaire, Sint Eustatius
 and Saba                   5     0      0    0       Sporadic cases               5
 British Virgin Islands     4     0      1    0       Sporadic cases               3
 Anguilla                   3     0      0    0       Sporadic cases              19
 Saint Pierre and
 Miquelon                   1     0      0    0       Sporadic cases              15
 African Region
                                                        Community
 South Africa              3635   170   65    7        transmission               0
                                                        Community
 Algeria                   2910   99    402   10       transmission               0
 Cameroon                  1163    0    43     0     Clusters of cases            2
 Ghana                     1154   112    9     0     Clusters of cases            0
 Côte d’Ivoire             952    36    14     1     Clusters of cases            0
                                                        Community
 Guinea                    761    73     6    0        transmission               0
 Niger                     662    5     22    2      Clusters of cases            0
                                                        Community
 Burkina Faso              600    19    38    0        transmission               0
                                                        Community
 Nigeria                   541    0     19    0        transmission               3
 Senegal                   442    30     6    1      Clusters of cases            0
 Democratic Republic
 of the Congo              359    0     25    0      Clusters of cases            1
                                                        Community
 Mauritius                 329    1      9    0        transmission               0
 Kenya                     303    7     14    0      Clusters of cases            0
 Mali                      293    35    17    3      Clusters of cases            0

                                                                         Exhibit 1 - 007
Case 3:20-cv-00998-BAS-JLB Document 11-2 Filed 07/16/20 PageID.164 Page 14 of 67

    United Republic of
    Tanzania                         285              30              10              0            Clusters of cases                    0
    Congo                            186              21               6              0            Clusters of cases                    0
    Gabon                            166              10               1              0            Clusters of cases                    0
    Rwanda                           153              3                0              0            Clusters of cases                    0
    Madagascar                       121              0                0              0            Clusters of cases                    3
    Ethiopia                         116              2                3              0            Clusters of cases                    0
    Liberia                          101              0                8              0            Clusters of cases                    1
    Togo                             88               2                6              0            Clusters of cases                    0
    Equatorial Guinea                84               5                1              1            Clusters of cases                    0
    Zambia                           74               4                3              0             Sporadic cases                      0
    Cabo Verde                       67               0                1              0             Sporadic cases                      1
    Sierra Leone                     61               11               1              1            Clusters of cases                    0
    Uganda                           61               5                0              0             Sporadic cases                      0
    Benin                            54               0                1              0             Sporadic cases                      2
    Guinea-Bissau                    50               0                0              0             Sporadic cases                      5
    Mozambique                       41               2                0              0             Sporadic cases                      0
    Eritrea                          39               0                0              0             Sporadic cases                      4
    Chad                             34               0                0              0             Sporadic cases                      1
    Eswatini                         31               7                1              0             Sporadic cases                      0
    Zimbabwe                         28               0                4              1             Sporadic cases                      1
    Angola                           24               0                2              0             Sporadic cases                      2
    Malawi                           23               5                3              1             Sporadic cases                      0
    Botswana                         22               2                1              0             Sporadic cases                      0
    Namibia                          16               0                0              0             Sporadic cases                     17
    Central African
    Republic                         14                0               0              0             Sporadic cases                      1
    Burundi                          11                0               1              0             Sporadic cases                      1
    Seychelles                       11                0               0              0             Sporadic cases                     16
    Gambia                           10                0               1              0             Sporadic cases                      2
    Mauritania                        7                0               1              0             Sporadic cases                     12
    São Tomé and
    Príncipe                          7                3               0              0             Sporadic cases                      0
    South Sudan                       4                0               0              0             Sporadic cases                     11
    Territories**
    Réunion                          410              0                0              0            Clusters of cases                   1
    Mayotte                          326              15               4              0            Clusters of cases                   0
    Subtotal for all
                                 2544080            73657          175681          6689
    Regions
    International
    conveyance (Diamond              712               0              13              0            Not Applicable††                    38
    Princess)
    Grand total                  2544792            73657          175694          6689
*
 Numbers include both domestic and repatriated cases
†The designations employed and the presentation of the material in this publication do not imply the expression of any opinion whatsoever on

the part of WHO concerning the legal status of any country, territory, city or area or of its authorities, or concerning the delimitation of its
frontiers or boundaries. Dotted and dashed lines on maps represent approximate border lines for which there may not yet be full agreement.
‡Case classifications are based on WHO case definitions for COVID-19.
§
  Transmission classification is based on a process of country/territory/area self-reporting. Classifications are reviewed on a weekly basis and may
be upgraded or downgraded as new information becomes available. Not all locations within a given country/territory/area are equally affected;
countries/territories/areas experiencing multiple types of transmission are classified in the highest category reported. Within a given
transmission category, different countries/territories/areas may have differing degrees of transmission as indicated by the differing numbers of
cases, recency of cases, and other factors.

                                                                                                                         Exhibit 1 - 008
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Terms:
 - No cases: Countries/territories/areas with no confirmed cases (not shown in table)
 - Sporadic cases: Countries/territories/areas with one or more cases, imported or locally detected
 - Clusters of cases: Countries/territories/areas experiencing cases, clustered in time, geographic location and/or by common exposures
 - Community transmission: Countries/area/territories experiencing larger outbreaks of local transmission defined through an assessment of
   factors including, but not limited to:
        - Large numbers of cases not linkable to transmission chains
        - Large numbers of cases from sentinel lab surveillance
        - Multiple unrelated clusters in several areas of the country/territory/area

** “Territories” include territories, areas, overseas dependencies and other jurisdictions of similar status
[1] All references to Kosovo should be understood to be in the context of the United Nations Security Council resolution 1244 (1999).

†† As the international conveyance (Diamond Princess) is no longer occupied, transmission classification cannot be applied.


Due to differences in reporting methods, retrospective data consolidation, and reporting delays, the number of new cases may not always
reflect the exact difference between yesterday’s and today’s totals. WHO COVID-19 Situation Reports present official counts of confirmed
COVID-19 cases, thus differences between WHO reports and other sources of COVID-19 data using different inclusion criteria and different
data cutoff times are to be expected.




Figure 4. Epidemic curve of confirmed COVID-19, by date of report and WHO region through 23 April 2020




                                                                                                                      Exhibit 1 - 009
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    STRATEGIC OBJECTIVES

    WHO’s strategic objectives for this response are to:

        x   Interrupt human-to-human transmission including reducing secondary infections among close contacts
            and health care workers, preventing transmission amplification events, and preventing further
            international spread*;
        x   Identify, isolate and care for patients early, including providing optimized care for infected patients;
        x   Identify and reduce transmission from the animal source;
        x   Address crucial unknowns regarding clinical severity, extent of transmission and infection, treatment
            options, and accelerate the development of diagnostics, therapeutics and vaccines;
        x   Communicate critical risk and event information to all communities and counter misinformation;
        x   Minimize social and economic impact through multisectoral partnerships.

    *This can be achieved through a combination of public health measures, such as rapid identification, diagnosis
    and management of the cases, identification and follow up of the contacts, infection prevention and control in
    health care settings, implementation of health measures for travelers, awareness-raising in the population and
    risk communication.




PREPAREDNESS AND RESPONSE
•     To view all technical guidance documents regarding COVID-19, please go to this webpage.
•     WHO has developed interim guidance for laboratory diagnosis, advice on the use of masks during home care and
      in health care settings in the context of COVID-19 outbreak, clinical management, infection prevention and
      control in health care settings, home care for patients with suspected novel coronavirus, risk communication and
      community engagement and Global Surveillance for human infection with COVID-19.
•     WHO is working closely with International Air Transport Association (IATA) and have jointly developed a
      guidance document to provide advice to cabin crew and airport workers, based on country queries. The
      guidance can be found on the IATA webpage.
•     WHO has been in regular and direct contact with Member States where cases have been reported. WHO is also
      informing other countries about the situation and providing support as requested.
•     WHO is working with its networks of researchers and other experts to coordinate global work on surveillance,
      epidemiology, mathematical modelling, diagnostics and virology, clinical care and treatment, infection
      prevention and control, and risk communication. WHO has issued interim guidance for countries, which are
      updated regularly.
•     WHO has prepared a disease commodity package that includes an essential list of biomedical equipment,
      medicines and supplies necessary to care for patients with COVID-19.
•     WHO has provided recommendations to reduce risk of transmission from animals to humans.
•     WHO has published an updated recommendations for international traffic in relation to COVID-19 outbreak .
•     WHO has activated the R&D blueprint to accelerate diagnostics, vaccines, and therapeutics.
•     OpenWHO is an interactive, web-based, knowledge-transfer platform offering online courses to improve the
      response to health emergencies. COVID-19 courses can be found here and courses in additional national
      languages here. Specifically, WHO has developed online courses on the following topics:
          o Introduction to Go.Data – Field data collection, chains of transmission and contact follow-up. The
               Go.Data tool is available globally to WHO staff, member states and partners to support outbreak
               investigation, focusing on field data collection, contact tracing and visualisation of chains of
               transmission.


                                                                                                  Exhibit 1 - 010
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        o   A general introduction to emerging respiratory viruses, including novel coronaviruses (available in
            Arabic, Chinese, English, French, Russian, Spanish, Hindi, Indian Sign Language, Persian, Portuguese,
            Serbian and Turkish);
        o Clinical care for Severe Acute Respiratory Infections (available in English, French, Russian, Indonesian
            and Vietnamese);
        o Health and safety briefing for respiratory diseases - ePROTECT (available in Chinese, English, French,
            Russian, Spanish, Indonesian and Portuguese);
        o Infection Prevention and Control for Novel Coronavirus (COVID-19) (available in Chinese, English, French,
            Russian, Spanish, Indonesian, Italian, Japanese, Portuguese and Serbian); and
        o COVID-19 Operational Planning Guidelines and COVID-19 Partners Platform to support country
            preparedness and response (available in English and coming soon in additional languages).
•   WHO is providing guidance on early investigations, which are critical in an outbreak of a new virus. The data
    collected from the protocols can be used to refine recommendations for surveillance and case definitions, to
    characterize the key epidemiological transmission features of COVID-19, help understand spread, severity,
    spectrum of disease, impact on the community and to inform operational models for implementation of
    countermeasures such as case isolation, contact tracing and isolation. Several protocols are available here. One
    such protocol is for the investigation of early COVID-19 cases and contacts (the “First Few X (FFX) Cases and
    contact investigation protocol for 2019-novel coronavirus (2019-nCoV) infection”). The protocol is designed to
    gain an early understanding of the key clinical, epidemiological and virological characteristics of the first cases of
    COVID-19 infection detected in any individual country, to inform the development and updating of public health
    guidance to manage cases and reduce the potential spread and impact of infection.

RECOMMENDATIONS AND ADVICE FOR THE PUBLIC

If you are not in an area where COVID-19 is spreading or have not travelled from an area where COVID-19 is
spreading or have not been in contact with an infected patient, your risk of infection is low. It is understandable that
you may feel anxious about the outbreak. Get the facts from reliable sources to help you accurately determine your
risks so that you can take reasonable precautions (see Frequently Asked Questions). Seek guidance from WHO, your
healthcare provider, your national public health authority or your employer for accurate information on COVID-19
and whether COVID-19 is circulating where you live. It is important to be informed of the situation and take
appropriate measures to protect yourself and your family (see Protection measures for everyone).

If you are in an area where there are cases of COVID-19 you need to take the risk of infection seriously. Follow the
advice of WHO and guidance issued by national and local health authorities. For most people, COVID-19 infection
will cause mild illness however, it can make some people very ill and, in some people, it can be fatal. Older people,
and those with pre-existing medical conditions (such as cardiovascular disease, chronic respiratory disease or
diabetes) are at risk for severe disease (See Protection measures for persons who are in or have recently visited (past
14 days) areas where COVID-19 is spreading).


CASE DEFINITIONS

WHO periodically updates the Global Surveillance for human infection with coronavirus disease (COVID-19)
document which includes case definitions.

For easy reference, case definitions are included below.

Suspect case
A. A patient with acute respiratory illness (fever and at least one sign/symptom of respiratory disease, e.g., cough,
   shortness of breath), AND a history of travel to or residence in a location reporting community transmission of
                                                                                                    Exhibit 1 - 011
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   COVID-19 disease during the 14 days prior to symptom onset.
   OR
B. A patient with any acute respiratory illness AND having been in contact with a confirmed or probable COVID-19
   case (see definition of contact) in the last 14 days prior to symptom onset;
   OR
C. A patient with severe acute respiratory illness (fever and at least one sign/symptom of respiratory disease, e.g.,
   cough, shortness of breath; AND requiring hospitalization) AND in the absence of an alternative diagnosis that
   fully explains the clinical presentation.

Probable case
A. A suspect case for whom testing for the COVID-19 virus is inconclusive.
       a. Inconclusive being the result of the test reported by the laboratory.
   OR
B. A suspect case for whom testing could not be performed for any reason.

Confirmed case
A person with laboratory confirmation of COVID-19 infection, irrespective of clinical signs and symptoms.
       x Technical guidance for laboratory testing can be found here.

Definition of contact
A contact is a person who experienced any one of the following exposures during the 2 days before and the 14 days
after the onset of symptoms of a probable or confirmed case:
    1. Face-to-face contact with a probable or confirmed case within 1 meter and for more than 15 minutes;
    2. Direct physical contact with a probable or confirmed case;
    3. Direct care for a patient with probable or confirmed COVID-19 disease without using proper personal
        protective equipment1; OR
    4. Other situations as indicated by local risk assessments.

Note: for confirmed asymptomatic cases, the period of contact is measured as the 2 days before through the 14 days
after the date on which the sample was taken which led to confirmation.

Definition of COVID-19 death
COVID-19 death is defined for surveillance purposes as a death resulting from a clinically compatible illness in a
probable or confirmed COVID-19 case, unless there is a clear alternative cause of death that cannot be related to
COVID disease (e.g. trauma). There should be no period of complete recovery between the illness and death.

Further guidance for certification and classification (coding) of COVID-19 as cause of death is available here.




1
  World Health Organization. Infection prevention and control during health care when COVID-19 is suspected
https://www.who.int/publications-detail/infection-prevention-and-control-during-health-care-when-novel-coronavirus-(ncov)-
infection-is-suspected-20200125
                                                                                                     Exhibit 1 - 012
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                     EXHIBIT 2
                                  Case 3:20-cv-00998-BAS-JLB Document 11-2 Filed 07/16/20 PageID.170 Page 20 of 67

7/15/2020                                                                      Cases in the U.S. | CDC




      Coronavirus Disease 2019 (COVID-19)

     Cases in the U.S.
     Updated July 15, 2020                                                 Print




                                            TOTAL CASES                                                    TOTAL DEATHS

                                        3,416,428                                                           135,991
                                            60,971 New Cases*                                                773 New Deaths*




        Want More Data?
        CDC COVID Data Tracker




     Cases by Jurisdiction
     This map shows COVID-19 cases reported by U.S. states, the District of Columbia, New York City, and other U.S.-a liated
     jurisdictions. Hover over the maps to see the number of cases reported in each jurisdiction. To go to a jurisdiction’s health
     department website, click on the jurisdiction on the map.




                                                                                                         Reported Cases
                                                                                                          0 to 1,000           1,001 to 5,000

                                                                                                          5,001 to 10,000      10,001 to 20,000

                                                                                                          20,001 to 40,000     40,001 or more




                 AS     GU     MH      FM     MP     PW      PR      VI



            Jurisdictions




                                                                                                            Add U.S. Map to Your Website




https://www.cdc.gov/coronavirus/2019-ncov/cases-updates/cases-in-us.html                                                                                1/4


                                                                                                                                      Exhibit 2 - 001
                                  Case 3:20-cv-00998-BAS-JLB Document 11-2 Filed 07/16/20 PageID.171 Page 21 of 67

7/15/2020                                                                  Cases in the U.S. | CDC




     Deaths by Jurisdiction
     This map shows COVID-19 cases reported by U.S. states, the District of Columbia, New York City, and other U.S.-a liated
     jurisdictions. Hover over the maps to see the number of deaths reported in each jurisdiction. To go to a jurisdiction’s health
     department website, click on the jurisdiction on the map.




                                                                                                     Reported Deaths
                                                                                                      0 to 100          101 to 1,000

                                                                                                      1,001 to 5,000    5,001 or more




                 AS     GU     MH      FM     MP     PW      PR      VI



            Jurisdictions




                                                                                                        Add U.S. Map to Your Website




        Cases & Deaths by County
        Select a state to view the number of cases and deaths by county. This data is courtesy of USAFacts.org 


             Select a State

                                                                                                                       View County Data




     New Cases by Day
     The following chart shows the number of new COVID-19 cases reported each day in the U.S. since the beginning of the
     outbreak. Hover over the bars to see the number of new cases by day.




https://www.cdc.gov/coronavirus/2019-ncov/cases-updates/cases-in-us.html                                                                         2/4


                                                                                                                               Exhibit 2 - 002
                                           Case 3:20-cv-00998-BAS-JLB Document 11-2 Filed 07/16/20 PageID.172 Page 22 of 67

7/15/2020                                                                                        Cases in the U.S. | CDC




                            70,000
      Number of New Cases


                            60,000
                            50,000
                            40,000

                            30,000
                            20,000
                            10,000
                                0
                              01/22/2020   02/09/2020   02/27/2020     03/16/2020   04/03/2020        04/21/2020           05/09/2020   05/27/2020   06/14/2020   07/02/2020




                                                                                    Cases    7-Day Average         Reset


     The 7-Day moving average of new cases (current day + 6 preceding days / 7) was calculated to smooth expected variations in daily counts.


             View Data




     Cases & Deaths among Healthcare Personnel
     Data were collected from 2,722,448 people, but healthcare personnel status was only available for 573,445 (21.1%) people.
     For the 99,855 cases of COVID-19 among healthcare personnel, death status was only available for 66,045 (66.1%).




                                              CASES AMONG HCP                                                                       DEATHS AMONG HCP

                                                   99,855                                                                                   531



                  Previous Data
                  CDC has moved the following information to the Previous U.S. COVID-19 Case Data page.

                             Level of community transmission by jurisdiction — last updated May 18, 2020
                             Total number of cases by day — last updated April 28, 2020
                             Number of cases by source of exposure — last updated April 16, 2020
                             Number of cases from Wuhan, China and the Diamond Princess cruise — last updated April 16, 2020
                             Number of cases by illness start date — last updated April 15, 2020




                  More Information

                            COVIDView – A Weekly Surveillance Summary of U.S. COVID-19 Activity

                            Previous U.S. COVID-19 Case Data

                            FAQ: COVID-19 Data and Surveillance

                            Testing Data in the U.S.

                            World Map


https://www.cdc.gov/coronavirus/2019-ncov/cases-updates/cases-in-us.html                                                                                                            3/4


                                                                                                                                                                  Exhibit 2 - 003
                                  Case 3:20-cv-00998-BAS-JLB Document 11-2 Filed 07/16/20 PageID.173 Page 23 of 67

7/15/2020                                                                  Cases in the U.S. | CDC


            Health Departments



                                                                                                           Page last reviewed: July 15, 2020

     COVID-2019 Menu

                Coronavirus Home

                Your Health

                Community, Work & School

                Healthcare Workers

                Laboratories

                Health Departments

                Cases, Data & Surveillance

                More Resources




https://www.cdc.gov/coronavirus/2019-ncov/cases-updates/cases-in-us.html                                                                       4/4


                                                                                                                         Exhibit 2 - 004
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                     EXHIBIT 3
                                 Case 3:20-cv-00998-BAS-JLB Document 11-2 Filed 07/16/20 PageID.175 Page 25 of 67

7/15/2020                                                                                  COVID-19 Statewide Update


                                                                                                                                                   Settings

                                                                                COVID-19               COVID-19        COVID-19    COVID-19
                                                                                Response             Contributions     Solutions    Toolkit




         COVID-19 Statewide Update

         Update for July 15, 2020
         California now has 347,634 confirmed cases of COVID-19, resulting in 7,227 deaths. The number of COVID-related
         deaths increased by 2.0 percent from Monday’s total of 7,087. The number of COVID-19 diagnostic test results in
         California reached a total of 5,793,276 an increase of 118,321 tests since Monday. The rate of positive tests over the
         last 14 days is 7.2 percent. California’s hospitalizations due to COVID-19 increased by 41 from Monday.

         Updated July 15, 2020 at 11:00 a.m. with data from July 14.



         How are COVID-19 cases progressing?
         There were 11,126 new confirmed cases Tuesday. Numbers may not represent true day-over-day change as reporting of test results
         can be delayed. The total number of deaths is 7,227, an increase of 140 from Monday.




      Go to Tableau Public
      Undo
      Redo
      Reset
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      Download
      Full Screen




         What is the current state of test results reported?
            Note: 4/3 and 4/22 testing counts have been adjusted in charts to correct for anomalous reported values.




https://update.covid19.ca.gov                                                                                                                                   1/5


                                                                                                                                              Exhibit 3 - 001
                                 Case 3:20-cv-00998-BAS-JLB Document 11-2 Filed 07/16/20 PageID.176 Page 26 of 67

7/15/2020                                                                                COVID-19 Statewide Update




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      Download




         Who is getting infected with COVID-19?
         The distribution of confirmed COVID-19 cases reveals significant disparities within California’s overall racial and ethnic
         demographics, with Latino and Native Hawaiian / Pacific Islander groups having a disproportionate share of cases relative to their
         share of the population. Additional disparities are evident in COVID-19 deaths, as seen here. California adults who are Black, Latino,
         or Native Hawaiian / Pacific Islander have disproportionately more deaths for their share of the population. Structural racism,
         poverty and the increased likelihood of having underlying conditions, such as heart disease and asthma, are likely to contribute to
         this disparity. While male and female Californians have a similar rate of confirmed cases, males account for a greater percentage of
         total deaths.

            Note: Percentages may not add up to 100% due to rounding. Ethnicity of deceased is available for a subset of the total number of deaths as reported by law

         enforcement. In percent of California population, Other appears as zero because it is not used in making population estimates.
                                                                                      Grey line denotes percent of total California population

                            Positive
                             PositiveCases
                                      Casesby Gender
                                            byRace/Ethnicity
                                               Age




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https://update.covid19.ca.gov                                                                                                                                                    2/5


                                                                                                                                                               Exhibit 3 - 002
                                Case 3:20-cv-00998-BAS-JLB Document 11-2 Filed 07/16/20 PageID.177 Page 27 of 67

7/15/2020                                                             COVID-19 Statewide Update




         How are COVID-19 cases progressing in each county?

                                      Positive Cases by County




                                     Go to Tableau Public
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         How many hospitalizations are there?

         On Tuesday, there were 41 more hospitalizations due to confirmed COVID-19 and 21 more cases in intensive care units.

         Positive COVID-19 hospital patients




https://update.covid19.ca.gov                                                                                                                     3/5


                                                                                                                                Exhibit 3 - 003
                                 Case 3:20-cv-00998-BAS-JLB Document 11-2 Filed 07/16/20 PageID.178 Page 28 of 67

7/15/2020                                                                       COVID-19 Statewide Update


                            Percentage of Positive COVID-19 Hospital Patients
                            Positive COVID-19 Hospital Patients
                            in ICU




                          Go to Tableau Public
                          Undo




         Where are COVID-19 hospitalized patients located in California?
         The largest number of persons hospitalized with confirmed COVID-19 (2,173) is in Los Angeles County, followed by 722 in Orange
         County and 603 in San Bernardino County.


         Number of positive COVID-19 hospital patients




https://update.covid19.ca.gov                                                                                                                  4/5


                                                                                                                             Exhibit 3 - 004
                                     Case 3:20-cv-00998-BAS-JLB Document 11-2 Filed 07/16/20 PageID.179 Page 29 of 67

7/15/2020                                                                                                       COVID-19 Statewide Update


                            Positive Hospital Patients per 100K
                            Positive Hospital Patients by County
                            Population




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                           Redo
                           Reset
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https://update.covid19.ca.gov                                                                                                                                                 5/5


                                                                                                                                                            Exhibit 3 - 005
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                     EXHIBIT 4
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7/15/2020                                                                      Local Situation




                           Coronavirus Disease 2019 Information

                      Coronavirus Disease 2019


            Coronavirus in San Diego County
            The County of San Diego is working closely with federal and state agencies and the local healthcare community to monitor and
            test for the COVID-19 virus in the region. For information about coronavirus disease nationwide, visit the CDC website.


                      County of San Diego Coronavirus Disease
                               (COVID-19) Dashboard
                                                            **Mobile Version of Dashboard**


                         County of San Diego COVID-19 Triggers
                                      Dashboard
                                                      Triggers for Modifying Health Officer Orders

                                                       **Mobile Version of Triggers Dashboard**



            The table below provides information about positive cases of COVID-19 in San Diego County.

                                                   This table will be updated daily around 5:00 p.m.

                                            Positive Cases in San Diego County Since February 14, 2020
                                                       Coronavirus Disease 2019 (COVID-19)

                                               Table updated July 15, 2020, with data through July 14, 2020.

                           COVID-19 Case Summary                                          San Diego County Residents

             Total Positives                                                                          21,446

             Selected Characteristics                                      Count                 %             Rate per 100,000

             Age Groups

                                   0-9 years                                642             3.0%                     148.1

                                  10-19 years                              1,481            6.9%                     341.5

                                  20-29 years                              5,325           24.9%                    1003.0

                                  30-39 years                              4,069           19.0%                     830.4

                                  40-49 years                              3,080           14.4%                     771.7

                                  50-59 years                              3,041           14.2%                     751.9

                                  60-69 years                              1,902            8.9%                     558.9




https://www.sandiegocounty.gov/content/sdc/hhsa/programs/phs/community_epidemiology/dc/2019-nCoV/status.html                                1/3


                                                                                                                          Exhibit 4 - 001
 Case 3:20-cv-00998-BAS-JLB Document 11-2 Filed 07/16/20 PageID.182 Page 32 of 67

7/15/2020                                                                 Local Situation




                                 70-79 years                          1,008            4.7%                    504.3

                                  80+ years                            878             4.1%                    732.7

                                Age Unknown                             20              —                       —

             Gender

                                   Female                             10,933          51.3%                    657.9

                                     Male                             10,387          48.7%                    614.6

                                  Unknown                              126              —                       —

             Hospitalizations                                         2,093            9.8%                     —

             Intensive Care                                            546             2.5%                     —

             Deaths                                                    448             2.1%                     —



            Additional Data on San Diego County COVID-19
            Cases
            COVID-19 Testing and Cases

                  Percentage of Positive COVID‐19 Cases Among Tests by Date Reported (7/15/20)
                  Confirmed COVID-19 Cases by Date of Illness Onset (7/15/20)
                  Summary of County of San Diego COVID-19 Cases by City of Residence (7/15/20)
                  Map of Cases by City of Residence (7/15/20)
                  Summary of County of San Diego COVID-19 Cases by Race/Ethnicity (7/15/20)
                  Summary of County of San Diego COVID-19 Cases by Zip Code (7/15/20)

            COVID-19-Associated Hospitalizations

                  COVID-19-Associated Hospitalizations by Date of Admission (7/15/20)
                  Summary of County of San Diego COVID-19 Cases that Required Hospitalization (7/15/20)

            COVID-19-Associated Deaths

                  COVID-19-Associated Deaths by Date of Death (7/15/20)
                  Summary of County of San Diego COVID-19 Deaths by Demographics (7/15/20)



            Daily Status Update (7/15/20)

            Latest News Briefing Slides




            Weekly COVID-19 Surveillance Report
            COVID-19 Watch—The San Diego County Coronavirus Disease 2019 (COVID-19) Weekly Surveillance Report is updated every
            Tuesday. (Data through week ending 7/11/20)

                                                                                                    Subscribe to the COVID-19 Watch




https://www.sandiegocounty.gov/content/sdc/hhsa/programs/phs/community_epidemiology/dc/2019-nCoV/status.html                          2/3


                                                                                                                    Exhibit 4 - 002
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7/15/2020                                                                 Local Situation




https://www.sandiegocounty.gov/content/sdc/hhsa/programs/phs/community_epidemiology/dc/2019-nCoV/status.html                     3/3


                                                                                                               Exhibit 4 - 003
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                     EXHIBIT 5
                                   Case 3:20-cv-00998-BAS-JLB Document 11-2 Filed 07/16/20 PageID.185 Page 35 of 67

7/15/2020                                                                               How Coronavirus Spreads | CDC




      Coronavirus Disease 2019 (COVID-19)

     How COVID-19 Spreads
     Updated June 16, 2020                                                              Print Page




     COVID-19 is thought to spread mainly through close contact from person-to-person. Some people without symptoms may be
     able to spread the virus. We are still learning about how the virus spreads and the severity of illness it causes.



     Person-to-person spread
     The virus is thought to spread mainly from person-to-person.


             Between people who are in close contact with one another (within about 6 feet).
             Through respiratory droplets produced when an infected person coughs, sneezes, or talks.
             These droplets can land in the mouths or noses of people who are nearby or possibly be inhaled into the lungs.
             COVID-19 may be spread by people who are not showing symptoms.



     The virus spreads easily between people
     How easily a virus spreads from person-to-person can vary. Some viruses are highly contagious, like measles, while other
     viruses do not spread as easily. Another factor is whether the spread is sustained, which means it goes from person-to-
     person without stopping.

     The virus that causes COVID-19 is spreading very easily and sustainably between people. Information from the ongoing
     COVID-19 pandemic suggests that this virus is spreading more e ciently than in uenza, but not as e ciently as measles,
     which is highly contagious. In general, the more closely a person interacts with others and the longer that interaction, the
     higher the risk of COVID-19 spread.



     The virus may be spread in other ways
     It may be possible that a person can get COVID-19 by touching a surface or object that has the virus on it and then touching
     their own mouth, nose, or possibly their eyes. This is not thought to be the main way the virus spreads, but we are still
     learning more about how this virus spreads.



     Spread between animals and people
             At this time, the risk of COVID-19 spreading from animals to people is considered to be low. Learn about COVID-19 and
             pets and other animals.
             It appears that the virus that causes COVID-19 can spread from people to animals in some situations. CDC is aware of a
             small number of pets worldwide, including cats and dogs, reported to be infected with the virus that causes COVID-19,
             mostly after close contact with people with COVID-19. Learn what you should do if you have pets.



     Protect yourself and others
     The best way to prevent illness is to avoid being exposed to this virus. You can take steps to slow the spread.


             Maintain good social distance (about 6 feet). This is very important in preventing the spread of COVID-19.
             Wash your hands often with soap and water. If soap and water are not available, use a hand sanitizer that contains at
             least 60% alcohol.

https://www.cdc.gov/coronavirus/2019-ncov/prevent-getting-sick/how-covid-spreads.html                                                       1/2


                                                                                                                          Exhibit 5 - 001
                                   Case 3:20-cv-00998-BAS-JLB Document 11-2 Filed 07/16/20 PageID.186 Page 36 of 67

7/15/2020                                                                               How Coronavirus Spreads | CDC




             Routinely clean and disinfect frequently touched surfaces.
             Cover your mouth and nose with a cloth face covering when around others.

     Learn more about what you can do to protect yourself and others.



         More Information

         ASL Video Series: How does COVID-19 Spread?


                                                                                                                        Page last reviewed: June 16, 2020

      COVID-2019 Menu

                 Coronavirus Home

                 Your Health

                 Community, Work & School

                 Healthcare Workers

                 Laboratories

                 Health Departments

                 Cases, Data & Surveillance

                 More Resources




https://www.cdc.gov/coronavirus/2019-ncov/prevent-getting-sick/how-covid-spreads.html                                                                       2/2


                                                                                                                                       Exhibit 5 - 002
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                     EXHIBIT 6
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                                                                               FILED
                         UNITED STATES DISTRICT COURT
                                                                                JUN 1 0 2020
                        SOUTHERN DISTRICT OF CALIFORNIA
                                                                           CLERK US DISl HICT COURT
                                                                        SOUTHERN DISTAi T OF CALIFORNIA
                                                                        BY                       DEPUTY


     In the matter of                        )
                                             )         Order of the   '\ C:
     INTERIM SAFETY PROTOCOLS                )         Chief Judge N o . ~
     FOR IN-PERSON COURT                     )
     PROCEEDINGS                             )
                                             )
     _________                               )



            Upon the recommendations of the Strategic Committee on Resumption of
     Regular Court Proceedings, the Court hereby adopts the following safety protocols
     for in-person court proceedings conducted in the United States District Court for the
     Southern District of California. These protocols will apply in the Edward J. Schwartz
     Courthouse, the James M. Carter and Judith N. Keep Courthouse, the Jacob
     Weinberger Bankruptcy Courthouse, and the El Centro United States Courthouse.

                         General Considerations to Ensure Safety

           1.     Witnesses, parties, jurors, attorneys, and the public are entitled to
           reasonable assurances of safety while participating in the trial process and
           other in-person court proceedings.

           2.     The Court will regularly continue to provide information to the public
           on its website explaining the safety protocols and practices of the district
           court.

           3.    No person will be admitted to the court without a face covering or mask,
           which shall always be worn in public areas of the courthouse. Visitors may
           bring other items of personal protective equipment (PPE) with them.
           Additionally, court personnel will maintain limited supplies of PPE in the
           courtrooms, including masks, face shields, hand sanitizers, and gloves. These




                                                                              Exhibit 6 - 001
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          items will be distributed as necessary in compliance with health and safety
          laws, regulations, and Court orders.

          4.     Court Security Officers (CSOs) will screen all visitors entering the
          court as required by Order of the Chief Judge No. 17-A (Visitor Restrictions).
          No person who is or should be in quarantine is authorized to enter the court.
          No person who has a fever, cough, or other symptoms of COVID-19 may
          enter the court.

          5.     While in the courthouse, all persons will strive to maintain a distance
          of at least six feet between themselves and others. An exception applies for
          members of the same family who reside in the same household.

          6.     Signage will be placed in the elevator bays, limiting the number of
          people who may ride at the same time. Limits on elevator occupancy will be
          based on the respective courthouse facility. An exception applies for members
          of the same family who reside in the same household.

          7.    GSA will disinfect and clean all courtrooms after each day's court
          session. Additionally, surfaces will be wiped down with disinfecting wipes as
          needed during and after separate court proceedings. High-touch surfaces
          throughout the courthouses, including public counters, public door handles,
          and elevator call buttons will be disinfected multiple times throughout the day.

          8.     If the Court is notified of a positive test by a courthouse employee or
          visitor, it will follow the CDC Interim Recommendations for U.S. Community
          Facilities with Suspected/Confirmed Coronavirus Disease 2019 (COVID-19),
          as may be amended or supplemented.

                   Number and Location of People in the Courtroom

          1.     The number of individuals in a courtroom will be kept to a minimum,
          subject to the discretion of the Judge. The occupancy rate in the courtroom
          will adhere to physical distancing protocols.

          2.    Court proceedings will remain open to the public. Priority seating will
          be given to parties and participants in a case, victims in criminal cases, family




                                                                               Exhibit 6 - 002
Case 3:20-cv-00998-BAS-JLB Document 11-2 Filed 07/16/20 PageID.190 Page 40 of 67




          members and supporters of criminal defendants, the media, and to the general
          public as available. At the discretion of the Judge, spectators may be permitted
          to sit in the jury box.

          3.     The Judge will determine how to prioritize access to the courtroom in
          multi-party cases, based on the space availability of the courtroom. CSOs will
          assist the Judge with directing seating. If CSOs are not present, counsel will
          ensure that their clients wait outside the courtroom until their case is called.
          Counsel should check in with the courtroom deputy by email upon arrival
          outside the courtroom. Counsel must not approach the courtroom deputy to
          check-in or for any other purpose. Remote check-in by text or other means
          may be allowed by prior arrangement with the courtroom deputy. The Judge
          will make the final determination on the number of individuals who are
          allowed in the courtroom at the same time.

          4.    In consultation with counsel, the Judge will determine the number of
          witnesses who may be present in the courtroom at any given time.

          5.     Counsel and parties will comply with social distancing requirements
          while seated at counsel table. However, Judges will accommodate counsels'
          need to confer with their clients while court is in session and considering
          social distancing requirements by, for example, permitting counsel and clients
          to text, rather than verbally confer or pass notes back and forth while court is
          .       .
          m sess10n.

          6.    Questioning of witnesses will be performed from counsel table.

                  Safety Measures Taken During Court Proceedings

          1.     Courtrooms will be equipped with masks, face shields, hand sanitizer,
          disinfecting wipes for hard surfaces and gloves. The supply of such equipment
          is limited. Counsel should make every effort to ensure that their clients and
          witnesses bring their own mask or face coverings to court. Counsel, their
          clients, and witnesses are also encouraged to bring their own water in plastic
          bottles.




                                                                              Exhibit 6 - 003
Case 3:20-cv-00998-BAS-JLB Document 11-2 Filed 07/16/20 PageID.191 Page 41 of 67




          2.    Masks will be required for all participants, jurors, and spectators in the
          courtroom. During in-court proceedings, the Judge may authorize the removal
          of masks or face coverings by a testifying witness or other court participants,
          provided that required social distancing and other protective measures are
          observed.

          3.    Disinfecting wipes will be available for headsets. Interpreters and
          Deputy U.S. Marshals, when present in court, will assist with distributing
          headsets. Headsets will be sanitized after each use.

          4.    The witness stand counter area and microphone will be sanitized by
          courtroom staff after the testimony of each witness.

          5.     Hand sanitizer and tissues will be available outside each courtroom. All
          participants must wash or sanitize hands prior to entering the courtroom.

          6.     In the Judge's discretion, courtroom doors may remain open during
          court proceedings.

                           Taking of Testimony and Exhibits

          1.    The Judge will determine if witness testimony is to be conducted in
          person or by Video Teleconferencing (VTC), after conferring with counsel.

          2.    In the discretion of the Judge, witnesses may be permitted to testify
          from suitable locations in the courtroom other than the witness stand.

          3.    Attorneys should not approach a witness, opposing counsel, or the
          bench; rather, courtroom technology should be used to display exhibits to the
          witness, to the Court, and to opposing counsel. Courtroom deputies will assist
          counsel in displaying exhibits. Counsel will wear gloves while using the Elmo
          and will sanitize the equipment after each use.

          4.    To the extent possible, paper exhibits are prohibited. Counsel should
          upload exhibits to a thumb drive and provide it to the Court. Likewise, exhibits
          should be pre-marked and transmitted electronically to opposing counsel
          before the court session begins.




                                                                              Exhibit 6 - 004
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           5.    Counsel handling physical evidence must wear gloves.

           This Order is effective immediately and remains in effect until July 10,
     2020, unless extended or rescinded by the Chief Judge.

           * * *
           IT IS SO ORDERED.




                                           Chief United States District Judge




                                                                              Exhibit 6 - 005
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                     EXHIBIT 7
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7/15/2020                                                             Q&A: Masks and COVID-19




   < Go back to all Coronavirus disease 2019 Q&As




   Q&A: Masks and COVID-19
   7 June 2020 | Q&A




   What is WHO’s view on masks?



      Does WHO advise the use of non-medical, fabric masks in the general public?



      WHO recommends that people always consult local authorities on recommended
      practices in their area.

      If there is widespread community transmission, and especially in settings where
      physical distancing cannot be maintained, governments should encourage the general
      public to wear a fabric mask. WHO also provides details on the composition of a fabric
      mask and how to safely wear one.




   What is WHO recommending to countries that are considering the use of masks for the general
   public?



   What types of masks are used against the spread of COVID-19?




https://www.who.int/emergencies/diseases/novel-coronavirus-2019/question-and-answers-hub/q-a-detail/q-a-on-covid-19-and-masks             1/4


                                                                                                                        Exhibit 7 - 001
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                     EXHIBIT 8
                                Case 3:20-cv-00998-BAS-JLB Document 11-2 Filed 07/16/20 PageID.196 Page 46 of 67

7/15/2020                                                                    COVID-19: Considerations for Wearing Cloth Face Coverings | CDC




      Coronavirus Disease 2019 (COVID-19)

     Considerations for Wearing Cloth Face Coverings
     Help Slow the Spread of COVID-19
     Updated June 28, 2020                                                                   Print




             CDC recommends that people wear cloth face coverings in public settings and when around people who don’t live in
             your household, especially when other social distancing measures are di cult to maintain.
             Cloth face coverings may help prevent people who have COVID-19 from spreading the virus to others.
             Cloth face coverings are most likely to reduce the spread of COVID-19 when they are widely used by people in public
             settings.
             Cloth face coverings should NOT be worn by children under the age of 2 or anyone who has trouble breathing, is
             unconscious, incapacitated, or otherwise unable to remove the mask without assistance.




     Evidence for E ectiveness of Cloth Face Coverings
                                                                                                                           Cloth face coverings are recommended as a
                                                                                                                           simple barrier to help prevent respiratory
                                                                                                                           droplets from traveling into the air and onto
                                                                                                                           other people when the person wearing the
                                                                                                                           cloth face covering coughs, sneezes, talks, or
                                                                                                                           raises their voice. This is called source control.
                                                                                                                           This recommendation is based on what we
                                                                                                                           know about the role respiratory droplets play in
                                                                                                                           the spread of the virus that causes COVID-19,
                                                                                                                           paired with emerging evidence from clinical
                                                                                                                           and laboratory studies that shows cloth face
                                                                                                                           coverings reduce the spray of droplets when
                                                                                                                           worn over the nose and mouth. COVID-19
                                                                                                                           spreads mainly among people who are in close
                                                                                                                           contact with one another (within about 6 feet),
                                                                                                                           so the use of cloth face coverings is particularly
                                                                                                                           important in settings where people are close to
                                                                                                                           each other or where social distancing is di cult
                                                                                                                           to maintain.



                                                                                                                           Who Should Wear A
     Cloth Face Covering?

      General public
            CDC recommends all people 2 years of age and older wear a cloth face covering in public settings and when around
            people who don’t live in your household, especially when other social distancing measures are di cult to maintain.
            COVID-19 can be spread by people who do not have symptoms and do not know that they are infected. That’s why it’s
            important for everyone to wear cloth face coverings in public settings and practice social distancing (staying at least 6
            feet away from other people).
            While cloth face coverings are strongly encouraged to reduce the spread of COVID-19, CDC recognizes there are speci c
            instances when wearing a cloth face covering may not be feasible. In these instances, adaptations and
https://www.cdc.gov/coronavirus/2019-ncov/prevent-getting-sick/cloth-face-cover-guidance.html?CDC_AA_refVal=https%3A%2F%2Fwww.cdc.gov%2Fcoronavirus%2F2019-ncov%2Fprevent-getting-sick%2Fcloth-fac… 1/4


                                                                                                                                                                            Exhibit 8 - 001
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7/15/2020                                                                    COVID-19: Considerations for Wearing Cloth Face Coverings | CDC
                                               g                              g      y                                                         ,   p

            alternatives should be considered whenever possible (see below for examples).


      People who know or think they might have COVID-19
            If you are sick with COVID-19 or think you might have COVID-19, do not visit public areas. Stay home except to get
            medical care. As much as possible stay in a speci c room and away from other people and pets in your home. If you
            need to be around other people or animals, wear a cloth face covering (including in your home).
            The cloth face covering helps prevent a person who is sick from spreading the virus to others. It helps keep respiratory
            droplets contained and from reaching other people.


     Caregivers of people with COVID-19
            Those caring for someone who is sick with COVID-19 at home or in a non-healthcare setting may also wear a cloth face
            covering. However, the protective e ects—how well the cloth face covering protects healthy people from breathing in
            the virus—are unknown. To prevent getting sick, caregivers should also continue to practice everyday preventive actions:
            avoid close contact as much as possible, clean hands often; avoid touching your eyes, nose, and mouth with unwashed
            hands; and frequently clean and disinfect surfaces.



     Who Should Not Wear a Cloth Face Covering
     Cloth face coverings should not be worn by:


            Children younger than 2 years old
            Anyone who has trouble breathing
            Anyone who is unconscious, incapacitated, or otherwise unable to remove the cloth face covering without assistance



     Feasibility and Adaptations
     CDC recognizes that wearing cloth face coverings may not be possible in every situation or for some people. In some
     situations, wearing a cloth face covering may exacerbate a physical or mental health condition, lead to a medical emergency,
     or introduce signi cant safety concerns. Adaptations and alternatives should be considered whenever possible to increase
     the feasibility of wearing a cloth face covering or to reduce the risk of COVID-19 spreading if it is not possible to wear one.

     For example,


            People who are deaf or hard of hearing—or those who care for or interact with a person who is hearing impaired—may
            be unable to wear cloth face coverings if they rely on lipreading to communicate. In this situation, consider using a clear
            face covering. If a clear face covering isn’t available, consider whether you can use written communication, use closed
            captioning, or decrease background noise to make communication possible while wearing a cloth face covering that
            blocks your lips.
            Some people, such as people with intellectual and developmental disabilities, mental health conditions or other sensory
            sensitivities, may have challenges wearing a cloth face covering. They should consult with their healthcare provider for
            advice about wearing cloth face coverings.
            Younger children (e.g., preschool or early elementary aged) may be unable to wear a cloth face covering properly,
            particularly for an extended period of time. Wearing of cloth face coverings may be prioritized at times when it is di cult
            to maintain a distance of 6 feet from others (e.g., during carpool drop o or pick up, or when standing in line at school).
            Ensuring proper cloth face covering size and t and providing children with frequent reminders and education on the
            importance and proper wear of cloth face coverings may help address these issues.
            People should not wear cloth face coverings while engaged in activities that may cause the cloth face covering to become
            wet, like when swimming at the beach or pool. A wet cloth face covering may make it di cult to breathe. For activities
            like swimming, it is particularly important to maintain physical distance from others when in the water.
            People who are engaged in high intensity activities, like running, may not be able to wear a cloth face covering if it causes
            di culty breathing. If unable to wear a cloth face covering, consider conducting the activity in a location with greater
            ventilation and air exchange (for instance, outdoors versus indoors) and where it is possible to maintain physical
            distance from others.

https://www.cdc.gov/coronavirus/2019-ncov/prevent-getting-sick/cloth-face-cover-guidance.html?CDC_AA_refVal=https%3A%2F%2Fwww.cdc.gov%2Fcoronavirus%2F2019-ncov%2Fprevent-getting-sick%2Fcloth-fac… 2/4


                                                                                                                                                                            Exhibit 8 - 002
                                Case 3:20-cv-00998-BAS-JLB Document 11-2 Filed 07/16/20 PageID.198 Page 48 of 67

7/15/2020                                                                    COVID-19: Considerations for Wearing Cloth Face Coverings | CDC




            People who work in a setting where cloth face coverings may increase the risk of heat-related illness or cause safety
            concerns due to introduction of a hazard (for instance, straps getting caught in machinery) may consult with an
            occupational safety and health professional to determine the appropriate face covering for their setting. Outdoor
            workers may prioritize use of cloth face coverings when in close contact with other people, like during group travel or
            shift meetings, and remove face coverings when social distancing is possible. Find more information here and below.


     Cloth face coverings are a critical preventive measure and are most essential in times when social distancing is di cult. If
     cloth face coverings cannot be used, make sure to take other measures to reduce the risk of COVID-19 spread, including
     social distancing, frequent hand washing, and cleaning and disinfecting frequently touched surfaces.



     Face Shields
     It is not known if face shields provide any bene t as source control to protect others from the spray of respiratory particles.
     CDC does not recommend use of face shields for normal everyday activities or as a substitute for cloth face coverings. Some
     people may choose to use a face shield when sustained close contact with other people is expected. If face shields are used
     without a mask, they should wrap around the sides of the wearer’s face and extend to below the chin. Disposable face shields
     should only be worn for a single use. Reusable face shields should be cleaned and disinfected after each use. Plastic face
     shields for newborns and infants are NOT recommended.



     Surgical Masks
     Cloth face coverings are not surgical masks or respirators. Currently, those are critical supplies that should continue to be
     reserved for healthcare workers and other medical rst responders, as recommended by current CDC guidance. Cloth face
     coverings also are not appropriate substitutes for them in workplaces where masks or respirators are recommended or
     required and available.



     Recent Studies:
            Rothe C, Schunk M, Sothmann P, et al. Transmission of 2019-nCoV Infection from an Asymptomatic Contact in Germany.
            The New England journal of medicine. 2020;382(10):970-971. PMID: 32003551 
            Zou L, Ruan F, Huang M, et al. SARS-CoV-2 Viral Load in Upper Respiratory Specimens of Infected Patients. The New
            England journal of medicine. 2020;382(12):1177-1179. PMID: 32074444 
            Pan X, Chen D, Xia Y, et al. Asymptomatic cases in a family cluster with SARS-CoV-2 infection. The Lancet Infectious
            diseases. 2020. PMID: 32087116 
            Bai Y, Yao L, Wei T, et al. Presumed Asymptomatic Carrier Transmission of COVID-19. Jama. 2020. PMID: 32083643 
            Kimball A HK, Arons M, et al. Asymptomatic and Presymptomatic SARS-CoV-2 Infections in Residents of a Long-Term Care
            Skilled Nursing Facility — King County, Washington, March 2020. MMWR Morbidity and mortality weekly report. 2020;
            ePub: 27 March 2020. PMID: 32240128 
            Wei WE LZ, Chiew CJ, Yong SE, Toh MP, Lee VJ. Presymptomatic Transmission of SARS-CoV-2 — Singapore, January 23–
            March 16, 2020. MMWR Morbidity and Mortality Weekly Report. 2020;ePub: 1 April 2020. PMID: 32271722 
            Li R, Pei S, Chen B, et al. Substantial undocumented infection facilitates the rapid dissemination of novel coronavirus
            (SARS-CoV2). Science (New York, NY). 2020. PMID: 32179701 
            Furukawa NW, Brooks JT, Sobel J. Evidence Supporting Transmission of Severe Acute Respiratory Syndrome Coronavirus
            2 While Presymptomatic or Asymptomatic [published online ahead of print, 2020 May 4]. Emerg Infect Dis.
            2020;26(7):10.3201/eid2607.201595. Link
            Oran DP, Topol Prevalence of Asymptomatic SARS-CoV-2 Infection: A Narrative Review [published online ahead of print,
            2020 Jun 3]. Ann Intern Med. 2020;M20-3012. PMID: 32491919 
            National Academies of Sciences, Engineering, and Medicine. 2020. Rapid Expert Consultation on the Possibility of
            Bioaerosol Spread of SARS-CoV-2 for the COVID-19 Pandemic (April 1, 2020). Washington, DC: The National Academies
            Press. https://doi.org/10.17226/25769  .
            Schwartz KL, Murti M, Finkelstein M, et al. Lack of COVID-19 transmission on an international ight. CMAJ.
            2020;192(15):E410. PMID: 32392504 
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7/15/2020                                                                    COVID-19: Considerations for Wearing Cloth Face Coverings | CDC




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               Coronavirus Home

               Your Health

               Community, Work & School

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https://www.cdc.gov/coronavirus/2019-ncov/prevent-getting-sick/cloth-face-cover-guidance.html?CDC_AA_refVal=https%3A%2F%2Fwww.cdc.gov%2Fcoronavirus%2F2019-ncov%2Fprevent-getting-sick%2Fcloth-fac… 4/4


                                                                                                                                                                            Exhibit 8 - 004
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                             EXECUTIVE DEPA RTMENT
                              STATE OF CALIFORNIA


                                  EXECUTIVE ORDER N-33-20

          WHEREAS on March 4, 2020, I proclaimed a State of Emergency to exist in
    California as a result of the threat of COVID-19; and

          WHEREAS in a short period of time, COVID-19 has rapidly spread
    throughout California, necessitating updated and more stringent guidance from
    federal, state, and local public health officials; and

           WHEREAS for the preservation of public health and safety throughout the
    entire State of California, I find it necessary for all Californians to heed the State
    public health directives from the Department of Public Health.

           NOW, THEREFORE, I, GAVIN NEWSOM, Governor of the State of California,
    in accordance with the authority vested in me by the State Constitution and
    statutes of the State of California, and in particular, Government Code sections
    8567, 8627, and 8665 do hereby issue the following Order to become effective
    immediately:

          IT IS HEREBY ORDERED THAT:

          1) To preserve the public health and safety, and to ensure the healthcare
             delivery system is capable of serving all, and prioritizing those at the
             highest risk and vulnerability, all residents are directed to immediately
             heed the current State public health directives, which I ordered the
             Department of Public Health to develop for the current statewide
             status of COVID-19. Those directives are consistent with the March 19,
             2020, Memorandum on Identification of Essential Critical Infrastructure
             Workers During COVID-19 Response, found at: https://covid19.ca.gov/.
             Those directives follow:

                       ORDER OF THE STATE PUBLIC HEALTH OFFICER
                                    March 19, 2020

              To protect public health, I as State Public Health Officer and Director
              of the California Department of Public Health order all individuals living
              in the State of California to stay home or at their place of residence
              except as needed to maintain continuity of operations of the federal
              critical infrastructure sectors, as outlined at
              https://www.cisa.gov/identifying-critical-infrastructure-during-covid-19.
              In addition, and in consultation with the Director of the Governor's
              Office of Emergency Services, I may designate additional sectors as
              critical in order to protect the health and well-being of all Californians.

               Pursuant to the authority under the Health and Safety Code 120125,
               120140, 131080, 120130(c), 120135, 120145, 120175 and 120150, this
               order is to go into effect immediately and shall stay in effect until
               further notice.

               The federal government has identified 16 critical infrastructure sectors
               whose assets, systems, and networks, whether physical or virtual, are
               considered so vital to the United States that their incapacitation or




                                                                                Exhibit 9 - 001
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              destruction would have a debilitating effect on security, economic
              security, public health or safety, or any combination thereof. I order
              that Californians working in these 16 critical infrastructure sectors may
              continue their work because of the importance of these sectors to
              Californians' health and well-being.

              This Order is being issued to protect the public health of Californians.
              The California Department of Public Health looks to establish
              consistency across the state in order to ensure that we mitigate the
              impact of COVID-19. Our goal is simple, we want to bend the curve,
              and disrupt the spread of the virus.

              The supply chain must continue, and Californians must have access to
              such necessities as food, prescriptions, and health care. When people
              need to leave their homes or places of residence, whether to obtain
              or perform the functions above, or to otherwise facilitate authorized
              necessary activities, they should at all times practice social distancing.

          2) The healthcare delivery system shall prioritize services to serving those
             who are the sickest and shall prioritize resources, including personal
             protective equipment, for the providers providing direct care to them.

          3) The Office of Emergency Services is directed to take necessary steps to
             ensure compliance with this Order.

          4) This Order shall be enforceable pursuant to California law, including,
             but not limited to, Government Code section 8665.

            IT IS FURTHER ORDERED that as soon as hereafter possible, this Order be
    filed in the Office of the Secretary of State and that widespread publicity and
    notice be given of this Order.

          This Order is not intended to, and does not, create any rights or benefits,
    substantive or procedural, enforceable at law or in equity, against the State of
    California, its agencies, departments, entities, officers, employees, or any other
    person.


                                          IN WITNESS WHEREOF I have
                                          hereunto set my hand and caused
                                          the Gre t Seal of the tote of
                                                               d his 19th day




                                          ATTEST:




                                          ALEX PADILLA
                                          Secretary of State




                                                                            Exhibit 9 - 002
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                               HEALTH AND HUMAN SERVICES AGENCY
                                      PUBLIC HEALTH SERVICES




                        ORDER OF THE HEALTH OFFICER
                        AND EMERGENCY REGULATIONS
                             (Effective July 15, 2020)

Pursuant to California Health and Safety Code sections 101040, 120175, and 120175.5 (b) the
Health Officer of the County of San Diego (Health Officer) ORDERS AS FOLLOWS:

Effective 12:00 a.m. on Tuesday, July 15, 2020 and continuing until further notice, the following
will be in effect for San Diego County (county):

1. All persons are to remain in their homes or at their place of residence, except for employees
   or customers traveling to and from essential businesses, reopened businesses, or essential
   activities as defined in section 22, below, or to participate in individual or family outdoor
   activity as allowed by this Order.

2. All public or private “gatherings,” as defined in section 22 below, are prohibited.

3. All businesses not meeting the definition of essential business or reopened business in section
   22 below are referred to in this Order as “non-essential businesses” and shall be and remain
   closed for the duration of this Order. All essential businesses and reopened businesses must
   comply with the requirements of this Order. Notwithstanding the foregoing, any business may
   remain open if its employees and owners can provide its services from home, including by
   telecommuting, without direct contact with the public.

4. All public, charter and private schools may hold classes or school business operations on the
   school campus, provided the school complies with the measures contained in the State
   COVID-19 Industry Guidance: Schools and School-Based Programs issued by the CDPH
   (including the face covering requirements contained therein), also incorporating where
   feasible the guidelines provided in Stronger Together: A Guidebook for the Safe Reopening
                                                                               Exhibit 10 - 001
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   of California’s Public Schools issued by the California Department of Education. Each school
   shall complete and post a document detailing the actions the school is taking to comply with
   the CDPH Industry Guidance measures after considering the CDE Guidelines noted above.
   Colleges and Universities shall not hold classes or other school activities where students gather
   on the school campus, except for research-related activities in colleges and universities and
   where necessary to train students who will serve as essential workers.

5. Child daycare and child care providers shall operate in compliance with the measures set forth
   in State COVID-19 Updated Guidance: Child Care Programs and Providers and shall prepare
   and post a Safe Reopening Plan pursuant to section 11, below.

6. “Non-essential personnel,” as defined in section 22 below, are prohibited from entry into any
   hospital or long-term care facility. All essential personnel who are COVID-19 positive or
   show any potential signs or symptoms of COVID-19 are strictly prohibited from entry into
   hospitals or long-term care facilities. Notwithstanding the foregoing, individuals requiring
   medical care for COVID-19 or related conditions may be admitted to hospitals or other
   medical facilities if the hospital or medical facility is appropriate for treating COVID-19 and
   has adequate precautions in place to protect its patients, medical personnel and staff.

7. Hospitals and healthcare providers, including dentists shall:
     a. Take measures to preserve and prioritize resources; and,
     b. May authorize and perform non-emergent or elective surgeries or procedures based on
         their determination of clinical need and supply capacity, and where consistent with
         State guidance.
      c. Nothing in this Order shall prevent physicians and other healthcare providers from
         conducting routine preventive care provided it conforms to any applicable State
         guidance.
      d. Nothing in this Order shall prevent dentists or dental hygienists from conducting routine
         preventive care provided it conforms to any applicable State guidance.

8. Hospitals, healthcare providers, and commercial testing laboratories shall report all COVID-
   19 test results to the Public Health Officer immediately after such results are received.

9. All persons two years of age or older who are present in the county shall have possession of a
   face covering when they leave their home or place of residence and shall wear the face
   covering as described and required in California Department of Public Health Face Covering
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   Guidance          issued        on        June        18,        2020,        (available        at:
   https://www.cdph.ca.gov/Programs/CID/DCDC/CDPH%20Document%20Library/COVID-
   19/Guidance-for-Face-Coverings_06-18-2020.pdf).


10. All essential businesses that allow members of the public to enter a facility must prepare and
    post a “Social Distancing and Sanitation Protocol” on the form available at:
    https://www.sandiegocounty
    .gov/content/dam/sdc/hhsa/programs/phs/Epidemiology/covid19/SOCIAL_DISTANCING_
    AND_SANITATION_PROTOCOL_04022020_V1.pdf ), or on a form required by another
    governmental entity requiring substantially similar information, for each of their facilities open
    to the public in the county. The Social Distancing and Sanitation Protocol must be posted at
    or near the entrance of the relevant facility, and shall be easily viewable by the public and
    employees. A copy of the Social Distancing and Sanitation Protocol must also be provided to
    each employee performing work at the facility. All essential businesses shall implement the
    Social Distancing and Sanitation Protocol and provide evidence of its implementation to any
    authority enforcing this Order upon demand. The Social Distancing and Sanitation Protocol
    must ensure all required measures are implemented and must identify and require measures
    necessary to implement social distancing are implemented at each facility that will ensure
    social distancing and sanitation at that particular facility. If the measures identified and
    implemented are not effective in maintaining proper social distancing and sanitation, the
    business shall promptly modify its Social Distancing and Sanitation Protocols to ensure proper
    social distancing and sanitation. Any business that fails to successfully implement social
    distancing and sanitation may be required to close.

11. All reopened businesses, with the exception of restaurants, bars, wineries, distilleries and
   breweries which do not limit services to take-out or delivery, must prepare and post a “Safe
   Reopening                Plan”             on           the            form               available
   at:https://www.sandiegocounty.gov/content/dam/sdc/hhsa/programs/phs/Epidemiology/covid
   19/Community_Sector_Support/BusinessesandEmployers/SafeReopeningPlanTemplate.pdf
   for each of their facilities in the county. Restaurants bars, wineries, distilleries and breweries
   which do not limit services to take-out or delivery, must prepare and post a “COVID-19
   Restaurant Operating Protocol” on the form available at
   https://www.sandiegocounty.gov/content/dam/sdc/deh/fhd/food/pdf/covid19sdrestaurantoper
   atingprotocol_en.pdf for each restaurant in the county. The Safe Reopening Plan or COVID-
   19 Restaurant Operating Protocol must be posted at or near the entrance of the relevant facility,
   and shall be easily viewable by the public and employees. A copy of the Safe Reopening Plan
   or COVID-19 Restaurant Operating Protocol must also be provided to each employee
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   performing work at the facility. All reopened businesses shall implement the Safe Reopening
   Plan or COVID-19 Restaurant Operating Protocol and provide evidence of its implementation
   to any authority enforcing this Order upon demand. The Safe Reopening Plan or COVID-19
   Restaurant Operating Protocol must ensure all required measures are implemented. If the
   measures identified and implemented are not effective in maintaining proper social distancing
   and sanitation, the business shall promptly modify its Safe Reopening Plan or COVID-19
   Restaurant Operating Protocol to ensure proper social distancing and sanitation. Any business
   that fails to comply with its Safe Reopening Plan or COVID-19 Restaurant Operating Protocol
   shall immediately close.

12. When the State of California has issued an industry guidance, or any subsequent amendments
    thereto, with mandatory and/or suggested measures to be implemented by a particular type of
    business or industry, a reopened business must include in its Safe Reopening Plan all of the
    industry guidance mandatory measures, including, but not limited to, all of the requirements
    and guidance set forth in the Statewide Public Health Officer Order, issued by the California
    Department of Health Services on July13, 2020, all portions of which are operative in San
    Diego      County      effective                     immediately,     and     available    at
   https://www.cdph.ca.gov/Programs/CID/DCDC/CDPH%20Document%20Library/COVID-
   19/SHO%20Order%20Dimming%20Entire%20State%XXX-XX-XXXX.pdf. The reopened business
   shall include all suggested measures necessary to maintain proper sanitation, employee
   screening, social distancing and facial coverings. Any mandatory measures required by this
   Order must also be included in the Safe Reopening Plan.

13. All brewpubs, breweries, bars and pubs shall close unless they comply with section 14c, below,
    in which case they shall comply with all other requirements in this section and section 14
    below. All other restaurants, bars, wineries, distilleries and breweries shall close indoor
    service in conformance with the requirements set forth in the Statewide Public Health Officer
    Order, issued by the California Department of Health Services on July13, 2020, all portions of
    which are operative in San Diego County effective immediately, and available at
   https://www.cdph.ca.gov/Programs/CID/DCDC/CDPH%20Document%20Library/COVID-
   19/SHO%20Order%20Dimming%20Entire%20State%XXX-XX-XXXX.pdf, and shall be closed from
   10:00 p.m. until 5:00 a.m. every day. Guests already in the facility at 10:00 p.m. may remain
   in the facility until 11:00 p.m. Only staff needed to close, open or clean shall be in the facility
   between the hours of 11:00 p.m. and 5:00 a.m.

14. All restaurants, bars, wineries and breweries shall also be required to ensure their customers
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comply with all of the following measures and shall immediately close if they are not able to
do so:
   a. No food or beverages shall be served to or consumed by a customer who is not seated
       at a table designated by the restaurant for dining.
   b. The bar area of a restaurant may be used only for table service of meals.
   c. Alcoholic drinks shall only be served as part of a meal and must be sold and served in
       the same transaction as the meal. All meals shall be served by a food operator permitted
       by the San Diego County Department of Environmental Health. This restriction shall
       not be applicable to outdoor service of wine at a winery or spirits at a distillery.
   d. Customers shall not stand in the restaurant, bar, winery, distillery or brewery except in
       the reception area while waiting for a table or to pick up take-out food. If customers
       cannot be socially distanced in the reception area they shall wait in their cars or outside
       of the restaurant in a line with six feet between each customer.
   e. Discontinue open seating. All members of the party must be present before seating and
       the host must bring the entire party to the table at one time. The customers allowed at a
       table are limited to members of a single household or customers who have asked to be
       seated together at the time a table is requested.
   f. Discontinue seating customers and/or groups at bar counters, sushi preparation bars,
       etc. where they cannot maintain at least six feet of distance from employee work
       areas/stations. Install physical barriers or partitions in areas where maintaining a
       physical distance of six feet is difficult.
   g. Customers are not required to wear face coverings while at a table with members of the
       same household. Customers at a table with non-household members are not required
       to wear face coverings when eating and drinking. Customers are required to wear face
       coverings at all other times in conformance with paragraph 9, above.
   h. Tables designated for dining shall be six feet apart, or separated by barriers or partitions
       that extend above the heads of customers while seated. Customer shall not be allowed
       to bring additional chairs to the table that interfere with the six foot separation.
   i. Self-serve food or drink options, such as buffets, salad bars, and drink stations are not
       allowed.
   j. Shared entertainment items such as board games, arcade games and vending machines
       are prohibited and customers shall not have access to game and entertainment areas
       such as pool tables or darts.
   k. Dance floors shall be closed and live performances such as musical or dance acts shall
       be discontinued.
   l. Any customer that refuses to comply with this section shall be subject to enforcement
       per Health and Safety Code section 120295.
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15. Places of Worship – Religious services and cultural ceremonial activities (including wedding
    ceremonies but not receptions) may be conducted in conformance with the State Guidance
    pursuant to sections 11 and 12, above. Given the high risk of this activity, vulnerable members
    of the population (over 65 years old, compromised immune system or underlying condition)
    are strongly encouraged to participate through streaming or some other form of remote
    technology. Outdoor services and cultural ceremonial activities may be conducted provided
    all persons practice social distancing as defined in section 22e, below.

16. Each essential business and reopened business shall:
       a. Require all employees/on-site contractors (hereinafter referred to as employees) to have
          possession of face coverings and wear them as described in section 9 above when in the
          business facility; and,
       b. Shall conduct temperature screening of all employees and prohibit entry to the
          workplace of employees with a temperature of 100 degrees or more, employees
          exhibiting COVID-19 symptoms as described by the Centers for Disease Control and
          Prevention, or employees who have recently been exposed to a person who has tested
          positive for COVID-19 (either directly or through a breach of Personal Protective
          Equipment in the case of healthcare workers/first responders).

17. Outdoor Recreation
       a. Each public park and recreation area or facility, shall operate in compliance with the
          measures set forth in the State COVID-19 Industry Guidance: Campgrounds, RV Parks
          and Outdoor Recreation. The operator of the park shall prepare a Safe Reopening Plan
          pursuant to section 11, above, indicating how the park or recreation facility will
          implement the required measures. Any park or recreation area/facility at which the
          Protocol requirements cannot be effectively implemented may be required to close.
       b. Outdoor recreation instruction and day camps that comply with the State COVID-19
          Industry Guidance: Day Camps, may be conducted in park and recreation
          areas/facilities.
       c. Swimming pools owned or operated by a Homeowners’ Association, Condominium or
          Apartment complex may be open provided the owner or operator completes and posts
          a Safe Reopening Plan that shows conformance with the requirements of this Order and
          with the swimming pool/aquatic venues requirements of the State COVID-19 Industry
          Guidance on Fitness Facilities.

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18. All essential businesses and reopened businesses that remain in operation in accordance with
    the Order shall make every effort to use telecommuting for their workforces.

19. A strong recommendation is made that all persons who are 65 years old or older, have a chronic
    underlying condition, or have a compromised immune system self-quarantine themselves at
    home or other suitable location.

20. All persons arriving in the county from international locations identified on the Centers for
    Disease Control and Prevention (CDC) Warning Level 2 or 3 Travel Advisory (available at:
    https://wwwnc.cdc.gov/travel/notices) shall be subject to 14-day home or other suitable
    location quarantine and self-monitoring.

21. Persons who have been diagnosed with COVID-19, or who are likely to have COVID-19, shall
    comply with the Order of the Health Officer titled: “Isolation of All Persons with or Likely to
    have COVID-19”, or as subsequently amended. Persons who have a close contact with a person
    who either has COVID-19, or is likely to have COVID-19, shall comply with the Order of the
    Health Officer titled: “Quarantine of Persons Exposed to COVID-19,” or as subsequently
    amended.                       Both        orders            are          available         at:
    https://www.sandiegocounty.gov/content/sdc/hhsa/programs/phs/community_epidemiology/d
    c/2019-nCoV/health-order.html. If a more specific isolation or quarantine order is issued to a
    person, that order shall be followed.

22. For purposes of this Order:
       a. “Essential business” is any business or activity (or a business/activity that
          employs/utilizes workers) designated by the State Public Health Officer as “Essential
          Critical Infrastructure Workers” set forth in: https://covid19.ca.gov/img/Essential
          CriticalInfrastructureWorkers.pdf) as that list may be updated from time-to-time, and
          referenced in Executive Order N-33-20 issued by the Governor of the State of
          California. For the purposes of this Order, the following businesses in the Food and
          Agriculture Sector are considered “groceries” or “other retail that sells food and
          beverages”: grocery stores, corner stores and convenience stores, liquor stores that sell
          food, farmer’s markets, food banks, farm and produce stands, supermarkets, big box
          stores that sell groceries and essentials, or similar business that sell food so long as the
          store has a current permit related to the sale of food and/or beverages from the San
          Diego County Department of Environmental Health.
       b. “Gathering” is any event or convening that brings together more than one person in a
          single room or single indoor or outdoor space at the same time. A gathering does not
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     include:
              i. A gathering consisting only of members of a single family or household.
             ii. Operations at airports, public transportation or other spaces where persons in
                 transit are able to practice social distancing.
            iii. Operations at essential businesses as defined in section 22a above and
                 reopened businesses as defined in 22f below and where the other
                 requirements set forth in this Order are followed.
  c. “Long term care facility” is a facility serving adults that require assistance with
     activities of daily living, including a skilled nursing facility, and that is licensed by the
     California Department of Community Care and Licensing, or the California Department
     of Public Health.
  d. “Non-essential personnel” are employees, contractors, or members of the public who
     do not perform treatment, maintenance, support, or administrative tasks deemed
     essential to the healthcare mission of the long-term care facility or hospital. Non-
     essential personnel do not include first responders, nor State, federal, or local officials,
     investigators, or medical personnel carrying out lawful duties. Non-essential personnel
     do not include visitors to hospitals and long-term care facilities who are granted entry
     by the facility’s director, or designee, because they are family or friends who are visiting
     a resident in an end of life or similar situation, are parents or guardians visiting a child
     who is a patient, or because of any other circumstances deemed appropriate by the
     facility director, or designee, and where appropriate precautions by the facility that
     follow federal, State, and local public health guidance regarding COVID-19 are
     followed.
  e. “Social distancing” is maintaining a six-foot separation from all persons except for
     household members, first responders and medical providers or employees conducting
     temperature screenings.
  f. “Reopened business” is a business that is not an essential business as stated in section
     22a above, and has reopened in conformance with the State of California’s Resilience
     Roadmap (available at: https://covid19.ca.gov/roadmap-counties/) and the Statewide
     Public Health Officer Order, issued by the California Department of Health Services
     on July13, 2020, all portions of which are operative in San Diego County effective
     immediately,                        and                     available                      at
     https://www.cdph.ca.gov/Programs/CID/DCDC/CDPH%20Document%20Library/COVID-
     19/SHO%20Order%20Dimming%20Entire%20State%XXX-XX-XXXX.pdf.     A reopened
     business may open when the State has posted the applicable COVID-19 INDUSTRY
     GUIDANCE, the Public Health Officer has posted an acknowledgement of the
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          reopened status on the County of San Diego Coronavirus website and the business has
          complied with the requirements of this Order.

23. Hotels and lodging establishments may be open for all guests, including tourists and leisure
    guests, provided they comply with the State COVID-19 Industry Guidance: Hotels, Lodging
    and Short Term Rentals and complete and post a Safe Reopening Plan pursuant to section 11,
    above.

24. This Order is issued as a result of the World Health Organization’s declaration of a worldwide
    pandemic of COVID-19 disease, also known as “novel coronavirus.”

25. This Order is issued based on scientific evidence regarding the most effective approaches to
    slow the transmission of communicable diseases generally and COVID-19 specifically, as well
    as best practices as currently known and available to protect vulnerable members of the public
    from avoidable risk of serious illness or death resulting from exposure to COVID-19. The age,
    condition, and health of a significant portion of the population of the county places it at risk
    for serious health complications, including death, from COVID-19. Although most individuals
    who contract COVID-19 do not become seriously ill, persons with mild symptoms and
    asymptomatic persons with COVID-19 may place other vulnerable members of the public—
    such as older adults, and those with underlying health conditions—at significant risk.

26. The actions required by this Order are necessary to reduce the number of individuals who will
    be exposed to COVID-19, and will thereby slow the spread of COVID-19 in the county. By
    reducing the spread of COVID-19, this Order will help preserve critical and limited healthcare
    capacity in the county and will save lives.

27. This Order is issued in accordance with, and incorporates by reference: a) the Declaration of
    Local Health Emergency issued by the Health Officer on February 14, 2020; b) the
    Proclamation of Local Emergency issued by the County Director of Emergency Services on
    February 14, 2020; c) the action of the County Board of Supervisors to ratify and continue
    both the local health emergency and local emergency on February 19, 2020; d) the
    Proclamation of a State of Emergency issued by the Governor of the State of California on
    March 4, 2020; e) Executive Order N-25-20 issued by the Governor of the State of California
    on March 12, 2020 which orders that “All residents are to heed any orders and guidance of
    state and local health officials, including but not limited to the imposition of social distancing
    measures, to control COVID-19”; f) Proclamation 9984 regarding COVID-19 issued by the
    President of the United States on March 11, 2020; g) Executive Order N-33-20 issued by the
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   Governor of the State of California on March 19, 2020; h) the “Interim Additional Guidance
   for Infection Prevention and Control for Patients with Suspected or Confirmed COVID-19 in
   Nursing Homes” issued by the CDC; i) COVID-19 guidance issued by the California
   Department of Public Health on including, but not limited to the Face Coverings Guidance
   issued on April 1, 2020; and j) the State of California’s “Resilience Roadmap.”

28. This Order is issued to prevent circumstances often present in gatherings that may exacerbate
    the spread of COVID-19, such as: 1) the increased likelihood that gatherings will attract people
    from a broad geographic area; 2) the prolonged time period in which large numbers of people
    are in close proximity; 3) the difficulty in tracing exposure when large numbers of people
    attend a single event or are at a single location; and 4) the inability to ensure that such persons
    follow adequate hygienic practices.

29. This Order is issued to provide additional opportunities for recreational activities while also
    requiring additional protections from the spread of COVID-19 to the public who are taking
    advantage of these opportunities for recreational activities. And providing additional
    protections for employees of essential businesses or reopened business and their
    customers/clients by increasing facial covering requirements and health checks and
    temperature screening.

30. This Order is issued to protect the public health as businesses are allowed to reopen by
    requiring businesses to implement procedures necessary to ensure their employees and
    customers comply with social distancing, sanitation and screening practices.

31. This Order comes after the release of substantial guidance from the Health Officer, the
    California Department of Public Health, the CDC, and other public health officials throughout
    the United States and around the world.

32. The statement of facts and circumstances set forth as justification for each Guidance issued by
    the California Department of Health Services that is referenced in this Order are hereby
    accepted and incorporated by reference into this Order.

33. Pursuant to Health and Safety Code section 120175.5 (b) all governmental entities in the
    county shall take necessary measures within the governmental entity’s control to ensure
    compliance with this Order and to disseminate this Order to venues or locations within the
    entity’s jurisdiction where gatherings may occur.
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                                                                                   Exhibit 10 - 010
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34. Violation of this Order is subject to fine, imprisonment, or both. (California Health and Safety
    Code section 120295.)

35. To the extent necessary, this Order may be enforced by the Sheriff or chiefs of police pursuant
    to Government Code sections 26602 and 41601 and Health and Safety Code section 101029.

36. Once this Order takes effect it shall supersede the Order of the Health Officer and Emergency
    Regulations dated July 6, 2020.

IT IS SO ORDERED:

Date: July 14 2020                                ___________________________________
                                                  Wilma J. Wooten, M.D., M.P.H.
                                                  Public Health Officer
                                                  County of San Diego



                                EMERGENCY REGULATIONS

As Director of Emergency Services for the County of San Diego, I am authorized to promulgate
regulations for the protection of life and property pursuant to Government Code Section 8634 and
San Diego County Code section 31.103. The following shall be in effect for the duration of the
Health Officer Order issued above which is incorporated in its entirety by reference:

        The Health Officer Order shall be promulgated as a regulation for the protection of life and
        property.
Any person who violates or who refuses or willfully neglects to obey this regulation is subject to
fine, imprisonment, or both. (Government Code section 8665.)

Date: July 14, 2020                               ______________________________________
                                                  Helen Robbins-Meyer
                                                  Chief Administrative Officer
                                                  Director of Emergency Services
                                                  County of San Diego


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                   EXHIBIT 11
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                                                                Exhibit 11 - 001
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                                                                Exhibit 11 - 002
